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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

BRIANNA BOE, et al.,                     )
                                         )
       Plaintiffs,                       )
                                         )
UNITED STATES OF AMERICA,                )
                                         )
       Intervenor Plaintiff,             )
                                         )
v.                                       ) Civil Action No. 2:22-cv-184-LCB
                                         )
HON. STEVE MARSHALL, in his              )
Official capacity as Attorney General,   )
of the State of Alabama, et al.,         )
                                         )
       Defendants.                       )

                            EXPERT REPORT OF
                         MICHAEL K. LAIDLAW, M.D.
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I, Michael K. Laidlaw, M.D., hereby declare as follows:
        1.       I am over the age of eighteen and submit this expert declaration based on my
personal knowledge and experience.
        2.       I am a board-certified endocrinologist. I received my medical degree from the
University of Southern California in 2001. I completed my residency in internal medicine at Los
Angeles County/University of Southern California Medical Center in 2004. I also completed a
fellowship in endocrinology, diabetes and metabolism at Los Angeles County/University of
Southern California Medical Center in 2006.
        3.       The information provided regarding my professional background is detailed in my
curriculum vitae. A true and correct copy of my curriculum vitae is attached as Exhibit A.
        4.       In my clinical practice as an endocrinologist, I evaluate and treat patients with
hormonal and/or gland disorders. Hormone and gland disorders can cause or be associated with
psychiatric symptoms, such as depression, anxiety, and other psychiatric symptoms. Therefore, I
frequently assess and treat patients demonstrating psychiatric symptoms and determine whether
their psychiatric symptoms are being caused by a hormonal issue, gland issue, or something else.
        5.       I have been retained by Defendants in the above-captioned lawsuit to provide an
expert opinion on the efficacy and safety of sex reassignment treatment, including the
trustworthiness of proposed standards of care or treatment guidelines promulgated by medical
organizations.
        6.       If called to testify in this matter, I would testify truthfully and based on my expert
opinion. The opinions and conclusions I express herein are based on a reasonable degree of
scientific certainty.
        7.       I am being compensated at an hourly rate of $450 per hour plus expenses for my
time spent preparing this declaration, and to prepare for and provide testimony in this matter. I am
being compensated at an hourly rate of $650 for testimony at depositions or trial. My compensation
does not depend on the outcome of this litigation, the opinions I express, or the testimony I may
provide.
        8.       My opinions contained in this report are based on: (1) my clinical experience as an
endocrinologist in particular dealing with hormone excess, hormone deficiency, and hormone
balance; (2) my clinical experience evaluating individuals who have or have had gender
incongruence including a detransitioner; (3) my knowledge of research and studies regarding the


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treatment of gender dysphoria, including for minors and adults; (4) my review of the various
declarations submitted by Plaintiffs; and (5) my first-hand personal experience in human research
as a physician, having been involved in two studies, one involving magnesium and bone density
and the other involving ultrasound use for detecting recurrent thyroid cancer.1 I frequently review
medical studies conducted by others and have experience assessing the strengths and weaknesses
of such studies.
       9.          I was provided with and reviewed the following case-specific materials: The
complaints and amended complaints; the expert reports disclosed by the Plaintiffs and the United
States; and the Defendants’ Response To Motion To Quash Subpoenas By AAP, WPATH, and the
Endocrine Society; and the Minor Plaintiffs’ medical records that were disclosed by the Plaintiffs.
       10.     A true and correct copy of my CV is attached to this declaration. In the previous
four years, I have provided expert testimony in the following cases:
       11.     United States District Court for the Northern District of Florida Tallahassee
Division, AUGUST DEKKER, et al., Plaintiffs, v. SIMONE MARSTILLER, et al., Defendants,
Case No. 4:22-cv-00325-RHMAF, 2022-2023; C. P., by and through his parents, Patricia Pritchard
and Nolle Pritchard; and PATRICIA PRITCHARD, Plaintiff, vs. BLUE CROSS BLUE SHIELD
OF ILLINOIS, Defendants, Case No. 3:20-cv-06145-RJB, 2022; District Court of Travis County,
Texas, 459th Judicial District, PFLAG, INC., ET AL., Plaintiffs, v. GREG ABBOTT, ET AL.,
Defendants. NO. D-1-GN-22-002569, 2022; JULIANA PAOLI v. JOSEPH HUDSON et al.,
Superior Court of State of California, County of Tulare, Case No. 279126. 2021; United States
District Court for the District of Arizona, DH AND JOHN DOE, Plaintiffs, vs. JAMI SNYDER,
Director of the Arizona Health Care Cost Containment System, in her official capacity, Defendant,
Case No. 4:20-cv-00335-SHR. 2020; Supreme Court of British Columbia., File No. S2011599,
Vancouver Registry, Between A.M., Plaintiff, and DR. F AND DANIEL MCKEE, Defendants,
11/23/20 & 11/25/20; and Court of Appeal File No. CA45940, Vancouver Registry, B.C. Canada,
Supreme Court File No. E190334, between A.B., Respondent/Claimant, and C.D.,
Appellant/Respondent, and E.F. Respondent/Respondent, 24 Jun 2019.


1
 For the latter study I helped to design an Institutional Review Board (“IRB”) approved protocol.
Furthermore, I received certification in the required course “Understanding the Fundamentals:
Responsibilities and Requirements for the Protection of Human Subjects in Research” at the University of
Southern California in 2003.


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       12.     In my professional opinion, treatment interventions on behalf of children and adults
diagnosed with gender dysphoria must be held to the same scientific standards as other medical
treatments. These interventions must be optimal, efficacious, and safe. Any treatment which alters
biological development in children should be used with extreme caution. Except in the case of a
fatal injury or disease, the minor will become an adult and present to the adult physician. The adult
physician must be able to have a thorough understanding of any condition which alters the
biological development of children and, in the case of the endocrinologist, be knowledgeable about
the long-term effects of hormones on the human body, particularly when the hormones are being
used in ways that alter development.
       13.     The following expresses my expert opinion regarding minors who present with a
disparity between their biological sex and internal feeling about their gender, specifically with
regard to the use of social transition, medications which block normal pubertal development, the
applications of hormones of the opposite sex, and surgical procedures that alter the genitalia and/or
breasts for those individuals.
                                          I.   Background
                             A. Biological Sex in Contrast to Gender Identity
       14.     A recognition and understanding of biological sex is critical to my practice as an
endocrinologist because the endocrine physiology of men and women, boys and girls, differ.
       15.     Biological sex is the objective physical condition of having organs and body parts
which correspond to a binary sex. There are only two physical sexes, male and female. The male
is identified as having organs and tissues such as the penis, testicles and scrotum. The female sex
is identified by having organs and tissues such as the labia, vagina, uterus, and ovaries. Biological
sex is easily identified by physical observation such that adults and even young children can
identify the biological sex of a newborn baby.
       16.     It is also noteworthy that the physical organs described above as representing
biological sex have a physical genetic correlate. In other words, it is a well-established scientific
fact that two X chromosomes identify the cells correlating to a female person, and an X and a Y
chromosome correlate to a male person.
       17.     Dr. Shumer states, “Sex is comprised of several components, including, among
others, internal reproductive organs, external genitalia, chromosomes, hormones, gender identity,
and secondary sex characteristics (IOM, 2011)” (Shumer decl, p. 6, emphasis added). Dr. Shumer


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is incorrect to include “gender identity” as a component of sex. What he states contradicts the
Diagnostic and Statistical Manual of Mental Disorders (DSM-5 TR), which states that “sex and
sexual refer to the biological indicators of male and female (understood in the context of
reproductive capacity), such as in sex chromosomes, gonads, sex hormones, and non-ambiguous
internal and external genitalia” (DSM-5 TR, emphasis added). Note that gender identity is not a
component of biological sex as defined by the DSM 5.
       18.     Gender identity in the DSM 5 is defined separately: “Gender identity is a category
of social identity and refers to an individual’s identification as male, female, or, occasionally, some
category other than male or female” (DSM 5-TR). So we can see that gender identity is not a
physical entity but is described as a social identity. It is a subjective identification known only
once a patient makes it known. It cannot be identified by any physical means, cannot be confirmed
by any outside observer, and can change over time.
       19.     Gender identity is a psychological concept. It has no correlate in the human body.
In the letter to the editor I wrote with my colleagues, we wrote in our critique of the Endocrine
Society Guidelines that “[t]here are no laboratory, imaging, or other objective tests to diagnose a
‘true transgender’ child” (Laidlaw et al., 2019).
       20.     For example, one cannot do imaging of the human brain to find the gender identity.
Likewise, there is no other imaging, laboratory tests, biopsy of tissue, autopsy of the brain, genetic
testing, or other biological markers that can identify the gender identity. There is no known gene
that maps to gender identity or to gender dysphoria. In other words, there is no objective physical
measure to identify either gender identity or gender dysphoria.
       21.     This is in contrast to endocrine disorders which have a measurable physical change
in either hormone levels or gland structure which can be confirmed by physical testing. Therefore,
gender dysphoria is a purely psychological phenomenon and not an endocrine disorder. But as my
colleagues and I wrote in our letter to the editor, it becomes an endocrine condition through gender
affirmative therapy: “Childhood gender dysphoria (GD) is not an endocrine condition, but it
becomes one through iatrogenic puberty blockade (PB) and high-dose cross-sex (HDCS)
hormones. The consequences of this gender-affirmative therapy (GAT) are not trivial and include
potential sterility, sexual dysfunction, thromboembolic and cardiovascular disease, and
malignancy” (Laidlaw et al. 2019).




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       22.     Dr. Shumer goes on to say in p. 9 of his declaration: “Scientific research and
medical literature across disciplines demonstrates that gender identity, like other components of
sex, has a strong biological foundation...In one such study, the volume of the bed nucleus of the
stria terminalis (a collection of cells in the central brain) in transgender women was equivalent to
the volume found in cisgender women.” The study that Dr. Shumer references, Chung et al., 2002,
involved autopsies of 50 deceased persons brains to examine the tissue. This sort of examination
obviously cannot be done on living persons and has not been validated in any way to confirm the
gender identity. Likewise, there has been no imaging (such as an MRI or CT scan of the brain) to
examine the nucleus of the stria terminalis that has been validated to confirm the gender identity
of a patient. In any event, none of the plaintiffs have presented any evidence that a brain scan,
blood tests, biopsy or other biological tests or markers were performed to confirm gender identity.
       23.     Dr. Shumer states that “[t]win studies have shown that if an identical twin is
transgender, the other twin is much more likely to be transgender compared to fraternal twins, a
finding which points to genetic underpinnings to gender identity development” (Shumer decl, p.
9). However, if gender identity is actually determined by genes, we would expect that identical
twins would profess having the same gender identity nearly 100 percent of the time. This is not
the case. In fact, the largest transexual twin study ever conducted included seventy-four pairs of
identical twins (Diamond, 2013). They were studied to determine in how many cases both twins
would grow up to identify as transgender. In only twenty-one of the seventy-four pairs (28 percent)
did both identical twins identify as transgender. This is consistent with the fact that multiple factors
play a role in determining gender identity, including psychological and social factors. This study
suggests that those factors are more important than any potential genetic contribution.
Furthermore, no genetic studies have ever identified a transgender gene or genes. And again, none
of the five minor plaintiffs have presented evidence of genetic testing that was performed to verify
the gender identity.
       24.     Sex is clearly identified in 99.98% of cases by chromosomal analysis (Sax, 2002).
Sex is also clearly recognized at birth in 99.98% of cases (Id.). Therefore, sex is a clear provable
objective reality that can be identified through advanced testing such as karyotyping, or simple
genital identification at birth by any layperson. The other 0.02% of cases have some disorder of
sexual development (DSD). DSDs do not represent an additional sex or sexes, but simply a
disorder on the way to binary sex development (Chan et al., 2021).


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       25.     Dr. Shumer states: “There is also ongoing research on how differences in fetal
exposures to hormones may influence gender identity. This influence can be examined by studying
a medical condition called congenital adrenal hyperplasia” (Shumer decl, p. 10). Congenital
adrenal hyperplasia is a DSD. None of the plaintiffs have been diagnosed with congenital adrenal
hyperplasia or any other DSD. Dr. Shumer also provides no evidence that any of the plaintiffs
suffered from fetal exposure to opposite sex hormones.
       26.     Dr. McNamara states that “[t]he adolescent works with a mental health provider to
confirm their gender identity” (McNamara decl, p. 12). But she offers no explanation as to what
sort of testing procedures are performed to make the confirmation of an immutable gender identity.
                                B. Human Sexual Development
                                    1. Embryologic Development
       27.     Another confirmation that there are only two biological sexes comes from what is
known about embryologic development and fertilization. The biologic development of the human
person begins with a gamete from a female termed an ovum or egg and a gamete from a biological
male which is termed sperm. The fertilization of the egg by the sperm begins the process of human
biological development. The cells of the fertilized ovum then multiply and the person undergoes
the incredible changes of embryologic development.
       28.     It is noteworthy that the male sperm comes from the biological male and the female
egg comes from the biological female. There is no other third or fourth or fifth type of gamete that
exists to begin the development of the human person. This is consistent with the binary nature of
human sex (Alberts et al., 2002).
       29.     The sex binary of the human embryo is further developed between roughly weeks
8 to 12 of human development. There are two primitive structures present within the developing
embryo called the Wolffian duct and Mullerian ducts (Larsen et al., 2003). The Wolffian ducts
develop into substructures of the genitalia including the vas deferens and epididymis which belong
exclusively to the male sex. For the female, the Mullerian ducts go on to form the uterus, fallopian
tubes, cervix and upper one third of the vagina which belong exclusively to the female sex (Id.)
       30.     Significantly once the male structures are developed from Wolffian ducts, the
Mullerian ducts are obliterated. This means that throughout the rest of embryological development
the Mullerian ducts will not form into biological female structures. Likewise, in the female, the




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Wolffian ducts are destroyed by week 12 and will not form male structures at any point in the
future (Id.).
        31.     Thus we can see in very early development that the sex binary is imprinted
physically not only in the chromosomes, but also on the very organs that the body produces.
Additionally, the potential to develop organs of the opposite sex is eliminated. Thus, in the human
being there are only two physical tracts that one may progress along, the one being male and the
other being female (Wilson and Bruno, 2022).
                                       2. Pubertal Development
        32.     As mentioned previously, at the time of birth an infant’s sex is easily identified
through observation of the genitalia. Corresponding internal structures could also be confirmed
through imaging if needed.
        33.     In early childhood, some low level of sex hormones are produced by the sex glands.
The male testes produce testosterone. The female ovaries produce primarily the hormone estrogen.
These sex glands remain quiescent for the most part, producing low levels of sex hormones until
the time of pubertal development.
        34.     Dr. Shumer states that “[p]uberty is a process of maturation heralded by production
of sex hormones—testosterone and estrogen—leading to the development of secondary sex
characteristics” (Shumer, p. 18). Dr. Shumer presents a very limited view of puberty. Puberty is
an essential part of human development. Its purpose is to achieve full adult sexual function and
reproductive capacity.
        35.     Puberty is a time of development of the sex organs, body, and brain. There are well
known changes in physical characteristics of the male such as growth of facial hair, deepening of
the voice, and increasing size of the testicles and penis. Importantly, the testicles will develop
sperm under the influence of testosterone and become capable of ejaculation. Because of these
changes, the male will become capable of fertilizing an egg. The inability to produce sperm
sufficient to fertilize an egg is termed infertility.
        36.     For the female, pubertal development includes changes such as breast development,
widening of the pelvis, and menstruation. The female will also begin the process of ovulation
which is a part of the menstrual cycle and involves the release of an egg or eggs from the ovary.
Once the eggs are released in a manner in which they can become fertilized by human sperm then




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the female is termed fertile. The inability to release ovum that can be fertilized is infertility
(Kuohong and Hornstein, 2021).
                                  3. Tanner Stages of Development
        37.       From a medical perspective it is important to know the stage of pubertal
development of the developing adolescent. This can be determined through a physical examination
of the body. The female will have changes in breast characteristics and pubic hair development.
Similarly, the male will have changes in testicular size and pubic hair development. These findings
can be compared to the Tanner staging system which will allow the stage of puberty to be known.
        38.       Tanner stages are divided into five. Stage 1 is the pre-pubertal state before pubertal
development of the child begins. Stage 5 is full adult sexual maturity. Stages 2 through 4 are
various phases of pubertal development (Greenspan and Gardner, 2004).
        39.       Awareness of the Tanner stage of the developing adolescent is also useful to assess
for maturation of sex organ development leading to fertility. For girls, the first menstruation
(menarche) occurs about two years after Tanner stage 2 and will typically be at Tanner stage 4 or
possibly 3 (Emmanuel and Boker, 2022). For males, the first appearance of sperm (spermarche)
will typically be Tanner stages 4 (Id.). If puberty is blocked or disrupted before reaching these
critical stages, the sex glands will be locked in a premature state and incapable of fertility.
                                4. Biological Sex Cannot Be Changed
        40.       It is not possible for a person to change from one biological sex to the other, and
there is no technology that allows a biological male to become a biological female or vice-versa.
It is not technologically possible at this time to change sex chromosomes; these will remain in
every cell throughout life. It is not technologically possible to transform sex glands from one to
the other. In other words, there are no hormones or other means currently known to change an
ovary into a testicle or a testicle into an ovary.
        41.       Furthermore, as noted earlier, several of the sex specific structures (such as the
epididymis of the male or uterus of the female) are produced early in embryological development
from around weeks 8 to 12. The primitive ducts which lead to these organs of the opposite sex are
obliterated. There is no known way to resuscitate these ducts and continue development of opposite
sex structures.
        42.       It is also not possible to produce gametes of the opposite sex. In other words, there
is not any known way to induce the testicles to produce eggs. Nor is there any known way to induce


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the ovaries to produce sperm. Therefore, creating conditions for a biological female to create sperm
capable of fertilizing another ovum is impossible. The induction of opposite sex fertility is
impossible.
        43.     In fact, as I will discuss, gender affirming therapy can lead to infertility and
potential sterilization.
                                     C. Endocrine Disorders
        44.     Before discussing gender dysphoria and gender affirmative therapy from the
perspective of an endocrinologist, it is helpful to discuss the background of endocrine diseases.
This background demonstrates the difference in gender dysphoria, which is a psychological
diagnosis, and other conditions treated by endocrinologists, which are physical diagnoses.
        45.     Endocrinology is the study of glands and hormones. Endocrine disorders can be
divided into three main types: those that involve hormone excess, those that involve hormone
deficiency, and those that involve structural abnormalities of the glands such as cancers.
        46.     It is important for the endocrinologist to determine the cause of hormone gland
excess or deficiency in order to devise an appropriate treatment plan. The plan will generally be to
help bring the hormones back into balance and thus bring the patient back to health.
        47.     To give an example of hormone excess, hyperthyroidism is a term which means
overactivity of the thyroid gland. In this condition excess thyroid hormone is produced by the
thyroid gland. This results in various physical and psychological changes for the afflicted patient.
Examples of physical changes can include tachycardia or fast heart rate, hand tremors, and weight
loss. Examples of psychological symptoms include anxiety, panic attacks, and sometimes even
psychosis.
        48.     An endocrinologist can recognize thyroid hormone excess in part by signs and
symptoms but can also confirm the diagnosis with laboratory testing that shows the thyroid
hormones to be out of balance. Once this is determined and the degree of excess is known, then
treatments can be given to bring these levels back into balance to benefit the patient’s health and
to prevent other disease effects caused by excess hormone.
        49.     To give another example, consider a deficiency of insulin. Insulin is a hormone
which regulates blood glucose levels. If there is damage to the pancreas such that insulin levels
are very low, then blood glucose levels will rise. If the glucose levels rise to a certain abnormally
high level, then this is considered diabetes. In the case of type 1 diabetes, insulin levels are


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abnormally low and therefore blood glucose levels are abnormally high leading to a variety of
signs and symptoms. For example, the patient may have extreme thirst, frequent urination, muscle
wasting, and weight loss. They may often experience lethargy and weakness.
         50.   In this case laboratory tests of glucose and insulin levels can confirm the diagnosis.
Once diabetes is confirmed, the patient is then treated with insulin to help restore glucose balance
in the body and prevent long-term complications of diabetes.
         51.   To give an example of a structural abnormality, a patient may have a lump on the
thyroid gland in the neck. This may be further examined by an imaging test such as an ultrasound.
A needle biopsy can be performed so that the cells can be examined under a microscope. A trained
medical professional such as a pathologist can then examine the cells to determine if they are
benign or cancerous. In the case of thyroid cancer, a surgical procedure known as a thyroidectomy
may be performed to remove the diseased thyroid gland in order to treat the cancer.
         52.   Noteworthy in the preceding three examples is that all three disease conditions are
diagnosed by physical observations. In other words, a laboratory test of a hormone, an imaging
test of an organ, or an examination of cells under a microscope—or all three—may be employed
in the diagnosis of endocrine disease.
                      D. Gender Dysphoria is a Psychological Diagnosis
         53.   Gender dysphoria, on the other hand, is not an endocrine diagnosis. It is a
psychological diagnosis. Gender dysphoria is the persistent state of distress that stems from the
feeling that one’s gender identity does not align with one’s physical sex (DSM-5 TR). It is
diagnosed purely by psychological methods of behavioral observation and questioning. The
criteria for diagnosis is found in the Diagnostic and Statistical Manual of Mental Disorders (DSM-
5 TR).
         54.   Drs. Shumer, Antommaria, McNamara, and Ladinsky advocate for the use of the
Endocrine Society’s Guideline (ESG) on gender dysphoria. The Guideline discusses the
importance of a psychological evaluation by a qualified clinician. It states: “GD/gender
incongruence may be accompanied with psychological or psychiatric problems. It is therefore
necessary that clinicians who prescribe hormones and are involved in diagnosis and psychosocial
assessment meet the following criteria: (1) are competent in using the DSM and/or the ICD for
diagnostic purposes, (2) are able to diagnose GD/gender incongruence and make a distinction
between GD/gender incongruence and conditions that have similar features (e.g., body dysmorphic


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disorder), (3) are trained in diagnosing psychiatric conditions, (4) undertake or refer for appropriate
treatment, (5) are able to do a psychosocial assessment of the patient’s understanding, mental
health, and social conditions that can impact gender affirming hormone therapy, and (6) regularly
attend relevant professional meetings” (Hembree et al., 2017, citations omitted).
       55.       As a practicing endocrinologist and scientist, I have made a study of GD and its
treatment for two reasons: 1) I want to be sure that my colleagues and I understand the science
before we treat any patients with GD; and 2) I am concerned that the medical society that claims
to speak for me and other endocrinologists has abandoned scientific principles in endorsing
treatments for GD that have questionable scientific support. The opinions expressed in this report
are the result of my own experience, studies, education, and review of the scientific literature
related to GD.
                               II.     Gender Affirmative Therapy
       56.       In the section that follows I discuss four interventions (social transition, blocking
normal puberty, opposite sex hormones, and surgery) that some physicians are using to treat gender
dysphoria. Each intervention can lead to iatrogenic harms to the patient. The term “iatrogenic” is
used in medicine to describe harms or newly created medical conditions that are the result of a
treatment. These harms will be described in detail below. I speak of these harms because it is
important to understand that once a patient begins GAT it is more likely the patient will continue
on to surgery (de Vries et al,, 2011; de Vries et al., 2014). Thus, GAT interrupts the natural
desistance process and instead places the patient on a lifetime regimen of hormonal and surgical
care. A good understanding of these harms is also critical to my practice as an endocrinologist: if
I did not understand these harms, I could not advise patients of the risks associated with GAT.
       57.       There are three general approaches to treating gender dysphoria in minors. (Zucker,
2020). One is psychosocial treatment that helps the young person align their internal sense of
gender with their physical sex. Another would be to “watch and wait” and allow time and maturity
to help the young person align sex and gender through natural desistance, while providing
psychological support and therapy as needed and addressing comorbidities. The third option,
which is the focus of that which follows, is referred to as gender affirmative therapy.
       58.       Gender affirmative therapy of adults and minors consists of psychosocial, medical,
and surgical interventions that attempt to psychologically and medically alter the patient so that
they come to believe they may become similar to the physical sex which aligns with their gender


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identity (but not their biological sex) and thereby reduce gender dysphoria. GAT consists of four
main parts: 1) social transition, 2) blocking normal puberty or menstruation, 3) high dose opposite
sex hormones, and 4) surgery of the genitalia and breasts.
         59.    The application of this medical therapy to minors2 is a fairly new intervention and
is associated with a number of harms both known and unknown. GAT suffers from a lack of a
quality evidence-base, poorly performed studies, and ongoing unethical human experimentation.
As discussed below, in my professional opinion as an endocrinologist, no child should be given
these treatments.
                                           A. Social transition
         60.    The first stage of gender affirmative therapy is termed social transition. Social
transition is a psychological intervention. The child may be encouraged to adopt the type of
clothing and mannerisms or behaviors which are stereotypical of the opposite sex within a culture.
For example, in the United States a boy might wear his hair long and wear dresses to socially
transition. A girl may cut her hair short and wear clothes from the boys’ section of a department
store.
         61.    Social transition of the child has been noted by an expert researcher in the field of
child gender dysphoria, Ken Zucker, to itself be a form of iatrogenic harm (Zucker, 2020). This is
because the social transition process may solidify the young person’s belief that they are in fact
the sex opposite of their biological sex. The 2017 Endocrine Society Guideline states that “[s]ocial
transition is associated with the persistence of GD/gender incongruence as a child progresses into
adolescence” (Hembree et al., 2017). A recent study also supports the contention that children who


2
  “[T]he US Department of Health and the Food and Drug Administration reference approximate age ranges
for these phases of life, which consist of the following: (1) infancy, between birth and 2 years of age; (2)
childhood, from 2 to 12 years of age; and (3) adolescence, from 12 to 21 years of age. Additionally, Bright
Futures guidelines from the American Academy of Pediatrics identify adolescence as 11 to 21 years of
age, dividing the group into early (ages 11–14 years), middle (ages 15–17 years), and late (ages 18–21
years) adolescence. The American Academy of Pediatrics has previously published a statement on the age
limit of pediatrics in 1988, which was reaffirmed in 2012 and identified the upper age limit as 21 years with
a note that exceptions could be made when the pediatrician and family agree to an older age, particularly in
the case of a child with special health care needs. Recent research has begun to shed more light on the
progression of mental and emotional development as children progress through the adolescent years into
young adulthood. It is increasingly clear that the age of 21 years is an arbitrary demarcation line for
adolescence because there is increasing evidence that brain development has not reliably reached adult
levels of functioning until well into the third decade of life.” (Hardin, 2017) (footnotes omitted).


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undergo social transition are more likely to have their gender dysphoria persist into adolescence.
In the 2022 article “Gender Identity 5 Years After Social Transition,” which studied 317 socially
transitioned youths, the authors found that “most participants were living as binary transgender
youth (94.0%)” (Olson et al., 2022).
        62.     From an endocrine point of view, it is understandable that a child having the
outward appearance of the opposite sex would believe that he or she is destined to go through
puberty of the opposite sex. At this age, the child likely has only a poor understanding of the
internal structures of the body, the function of the sex glands, the role of the sex glands in fertility
and so forth.
        63.     Therefore, it would be quite frightening for a boy who believes he is a girl to be
turning into a man with all of the adult features that accompany manhood. Vice versa, the girl who
has become convinced that she is a boy will be frightened by the physical changes brought on by
womanhood.
        64.     In fact, it would appear that in the minds of children and adolescents that they are
anticipating a sort of disease state in the future by the hormone changes that will occur as a normal
and natural part of human development. Until relatively recently in human history, it has not been
possible to interfere with puberty through pharmaceutical means.
                       B. Medications That Block Pubertal Development
                                             1. Background
        65.     A second stage of gender affirmative therapy may involve blocking normal pubertal
development. This may be done with puberty blocking medications (PB) that act directly on the
pituitary to cause the endocrine condition known as hypogonadotropic hypogonadism (HH).
        66.     In order to understand what is occurring in this process, it is helpful to be aware of
normal hormone function during pubertal development. There is a small pea-sized gland in the
brain called the pituitary. It is sometimes referred to as the “master gland,” as it controls the
function of several other glands. One key function for our purposes is the control of the sex glands.
There are two specific hormones produced by the pituitary referred to as luteinizing hormone (LH)
and follicle stimulating hormone (FSH). These are responsible for sex hormone production and
fertility. The LH and FSH act as signals to tell the sex glands to begin or to continue their function.




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       67.     In the adult male, the production of LH will cause adult levels of testosterone to be
produced by the testicles. In the adult female, the production of LH will cause adult levels of
estrogen to be produced by the ovaries.
       68.     In early childhood, prior to the beginning of puberty, the pituitary function with
respect to the sex glands is quiescent. However, during pubertal development LH will signal the
testicle to increase testosterone production and this carries the boy through the stages of pubertal
development into manhood. Likewise for the female, the interaction of LH with the ovaries
increases estrogen production and carries the girl through the stages of development into
womanhood.
       69.     Hypogonadotropic hypogonadism is a medical condition in which the pituitary does
not send the hormonal signals (LH and FSH) to the sex glands. Therefore, the sex glands are unable
to make their sex specific hormones of testosterone or estrogen.
       70.     If this condition occurs during puberty, the effect will be to stop pubertal
development. This is a disease state which is diagnosed and treated by the endocrinologist.
       71.     Medications such as GnRH analogues (sometimes called puberty blockers) act on
the pituitary gland to lower the pituitary release of LH and FSH levels dramatically. The result is
a blockage of the signaling of the pituitary to the testicles or ovaries and therefore underproduction
of the sex hormones. This will stop normal menstrual function for the female and halt further
pubertal development. For the male this will halt further pubertal development. If the male had
already reached spermarche, then production of new sperm will stop.
                    2. GnRH Agonist Medication Effects Vary by Use Case
       72.     There are a variety of uses for GnRH agonists. The use and outcome can be very
different for different applications.
       73.     For example, the initial development of the medication called Lupron was for the
treatment of prostate cancer, the idea being that blocking pituitary hormones will block the adult
male’s release of testosterone from the testicles. Since testosterone will promote the growth of
prostate cancer, the idea is to lower testosterone levels to a very low amount and therefore prevent
the growth and spread of prostate cancer. This is a labeled use of the medication. In other words,
there is FDA approval for this use.
       74.     Another labeled use of GnRH agonist medication is for the treatment of central
precocious puberty. In the disease state of central precocious puberty, pituitary signaling is


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activated at an abnormally young age3, say age four, to begin pubertal development. In order to
halt puberty which has begun at an abnormally early time, a GnRH agonist may be used. Here the
action of the medication on the pituitary will disrupt the signaling to the sex glands, stop early sex
hormone production, and therefore stop abnormal pubertal development.
        75.     Then, at a more normal time of pubertal development, say age 11, the medication
is stopped and puberty is allowed to proceed. The end result is to restore normal sex gland function
and timing of puberty. This is a labeled use for a GnRH agonist medication.
        76.     What about the use of GnRH analogue medications such as Lupron in gender
affirmative therapy? In these cases, we have physiologically normal children who are just
beginning puberty or are somewhere in the process of pubertal development. They have healthy
pituitary glands and sex organs. However, a puberty blocking medication is administered to stop
normal pubertal development.
        77.     In this case the condition of hypogonadotropic hypogonadism described above (a
medical disease) is induced by medication and is an iatrogenic effect of treating the psychological
condition of gender dysphoria. GnRH analogue medications have not been FDA approved for this
use. The use of GnRH analogue medication for this purpose in adolescents is experimental as there
have been no randomized controlled trials for this specific use case.
        78.     Dr. Shumer states that “[t]he safety and efficacy of GnRHa in transgender
adolescents are clearly outlined in longitudinal research studies outlined in this report and are not
experimental” (Shumer, p. 30). However, he doesn’t provide any evidence of which studies have
longitudinal data for treatment of adolescents with gender dysphoria. He simply refers to the
deeply flawed WPATH Standards of Care v. 8 (“SOC 8”), which will be discussed further below.
        79.     Dr. McNamara states that “[a] solid body of evidence documents that pubertal
progression resumes after discontinuation of the medication,” (McNamara decl., p. 13). To support
her claim, she references six studies which are limited to the treatment of the medical condition of
precocious puberty. She does not provide any evidence to support the very different, non-FDA
approved use case of administering GnRHa to stop normal puberty.
        80.     Dr. McNamara states, “[p]uberty blockers have been prescribed for decades in …
adolescents with cancer who need menstrual suppression as they undergo marrow-ablative

3
 “The traditional definition of precocious puberty is the development of secondary sexual characteristics
before 8 years of age in girls and 9 years in boys” (Kota and Ejas, 2023).


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chemotherapy,” (McNamara decl, p. 13). The use of GnRHa in conjunction with chemotherapy
for a life-threatening cancer treatment is very different than its use in GAT. Such treatment for
cancer is based on an objective and verifiable physical examination, typically the biopsy of a
cancerous tumor. Again, no such objective validation of an immutable gender identity exists,
making the underlying diagnosis uncertain. Her comparison is faulty.
           81.     In my opinion, there is not sufficient evidence to conclude that the use of puberty
blockers to block natural puberty is safe when administered as part of gender affirming therapy.
Nor is there sufficient evidence to conclude that the effects of puberty blockers when used in this
manner are reversible.
                                   3. Hypogonadotropic Hypogonadism
           82.     As described above, hypogonadotropic hypogonadism is a condition in which the
pituitary fails to send signals to the gonads thereby preventing the testicle of the male from making
testosterone or the ovary of the female from making estrogen.
           83.     As an endocrinologist I frequently evaluate patients to ascertain if they have the
condition of hypogonadotropic hypogonadism. This is done by a laboratory evaluation. If the
patient has this condition, I then determine the cause and the proper treatment.
           84.     The primary hormone of the pituitary which is abnormal in this condition is called
luteinizing hormone or LH. In order to diagnose the condition, a laboratory test with reference
ranges based on the person’s sex and age is used to evaluate the blood sample.
           85.     For example, figure 1 shows the normal laboratory reference range for LH over the
course of a month in an adult pre-menopausal female (0.5-76.3 mIU/mL) (Quest LH, 2023). A
very low level of LH (red) with low estrogen levels indicates hypogonadotropic hypogonadism4.




4
    Levels will be similarly low for adolescents, though the normal reference range is different.


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                                              Figure 1.
       86.     As one can see, in hypogonadotropic hypogonadism the level of LH is below the
reference range. In the female, this causes the cessation of estrogen production, and in the male it
causes cessation of testosterone production. In adolescents of either sex, this will stop further
pubertal development. For females in mid-puberty or beyond, this condition will also stop normal
menstrual cycles and ovulation. For the male in mid-puberty or beyond, it will cause the cessation
of normal sperm production.
       87.     As an endocrinologist, I would confirm the condition of hypogonadotropic
hypogonadism based on laboratory results and then treat this medical condition.
       88.     What occurs to pituitary hormones and the sex hormones5 when administering a
GnRH analogue medication such as Lupron? The effect is identical to figure 1. Over time, the
result of the medication is to cause very low LH levels (red) leading to low sex hormone levels
thereby medically inducing the condition of hypogonadotropic hypogonadism.
       89.     In gender affirmative therapy, the medical condition of hypogonadotropic
hypogonadism is being deliberately created by the use of medications called GnRH analogues, one
of which is called Lupron.




5 The primary sex hormones being estrogen for females and testosterone for males.


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                    4. Adverse Health Consequences of Blocking Normal Puberty
                                               a. Infertility
        90.      There are a number of serious health consequences that occur as the result of
blocking normal puberty. The first problem is infertility.
        91.      Dr. Shumer states that “[i]n transgender youth, it is most typical to use GnRHa
[puberty blockers] from the onset of puberty (Tanner Stage 2) until mid-adolescence” (Shumer
decl, p. 21). This is correct. However, he also states “GnRHa have no long-term implications on
fertility” (Id.). That statement is incorrect. As I explain below, GnRHa have profound implications
for fertility.
        92.      The Endocrine Society Guideline recommends beginning puberty blockers as early
as Tanner stage 2. As discussed earlier, this is the very beginning of puberty. Fertility development
happens later, generally in Tanner stage 4. Thus, if the developing person is blocked at Tanner
stage 2 or 3, as advocated by the guidelines, this is prior to the patient becoming fertile. The gonads
will remain in an immature, undeveloped state.
        93.      If the patient remains blocked in an early pubertal stage, then even the addition of
opposite sex hormones will not allow for the development of fertility. In fact, high doses of
opposite sex hormones may permanently damage the immature sex organs leading to sterilization.
Certainly, the removal of the gonads by surgery will ensure sterilization.
        94.      In a Dutch study by de Vries et al. that included seventy adolescents who took
puberty blockers, all seventy decided to go on to hormones of the opposite sex (de Vries, et al.
2011). In a follow-up study by de Vries et al., the overwhelming majority went on to have sex
reassignment surgery by either vaginoplasty for males or hysterectomy with ovariectomy for
females (de Vries, et al. 2014). These surgeries resulted in sterilization6. This is why puberty
blockers, rather than being a “pause” to consider aspects of mental health, are instead a pathway
towards future sterilizing surgeries and potentially sterilizing hormonal treatments.
        95.      Dr. Antommaria writes that “The [Endocrine Society] guideline recommends that
informed consent for pubertal blockers and gender-affirming hormones include a discussion of the
implications for fertility and options for fertility preservation” (Antommaria decl, p. 28). However,


6
 The surgeries were consequential in another important way. One person who had a vaginoplasty died of
post-surgical complications of necrotizing fasciitis, which is a rapidly progressive and very severe infection
of the soft tissues beneath the skin and has a high rate of mortality (Id.).


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even though procedures to preserve fertility are available for patients in late pubertal stages
(Tanner 4 and 5), studies show that less than 5% of adolescents in North America receiving GAT
even attempt fertility preservation (FP) (Nahata, 2017). Moreover, for those in early pubertal
stages (Tanner 2 and 3), “ovarian tissue cryopreservation is still considered experimental in most
centers and testicular tissue cryopreservation remains entirely experimental7. These experimental
forms of FP would be the only options in children [with puberty] blocked prior to spermarche and
menarche and are high in cost and limited to specialized centers. Even with FP there is no guarantee
of having a child” (Laidlaw, Cretella, et al., 2019).
        96.     Dr. Antommaria states with respect to the treatment of precocious puberty and use
in GAT that the “risks of and evidence for the use of puberty blockers in both conditions are
comparable” (Antommaria decl, p. 33). This statement fails to recognize the very different effects
of PB medication in early childhood versus during adolescence.
        97.     As an example, if a four-year-old child is diagnosed with precocious puberty, the
abnormally early puberty may be halted by GnRH analogues (puberty blocking medication). The
child will at a later time, say at age 12, have the puberty blocker discontinued and at that point
normal pubertal development will be allowed to proceed. Therefore, when the child is no longer
taking the medication, he or she will gain natural fertility.
        98.     In contrast, puberty blocking medication given to minors as a part of GAT occurs
during the time for natural puberty and is—precisely the time that the adolescent person would
have otherwise gained reproductive function. The effects of puberty blocker on the adolescent are
to prevent sperm production in the male and ovulation in the female, which produces the infertile
condition. Importantly, so long as the minor continues PB, he or she will thus remain infertile. And
should the patient continue on to opposite sex hormones as part of GAT, then the patient will
remain infertile. There is the additional possibility that cytotoxic effects of high dose opposite sex
hormones will damage the immature gonads leading to permanent sterility.
                                        b. Sexual Dysfunction
        99.     Another problem I would expect to find in youths who have HH and puberty
stopped at an early stage is sexual dysfunction. The child will continue their chronological age
progression toward adulthood and yet remain with undeveloped genitalia. This will lead to sexual

7
 “Once testicular tissue has been cryopreserved, future options for its use may include in vitro maturation
or germ cell transplant, which at this time are theoretical in nature” (Klipstein et al., 2020).


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dysfunction, including potential erectile dysfunction and inability to ejaculate and orgasm for the
male. For the female with undeveloped genitalia potential sexual dysfunction may include painful
intercourse and impairment of orgasm.
          100.     The impairment of sexual function was evident in the TLC reality show “I am Jazz”.
In the show, Jazz, who was identified male at birth, had been given puberty blockers at an early
pubertal stage. In an episode where Jazz visits a surgeon and has a discussion about sexual
function, Jazz states: “I haven’t experienced any sexual sensation.” Regarding orgasm, Jazz says:
“I don’t know, I haven’t experienced it”8 (TLC, accessed 2022).
             c. Negative Effects of Hypogonadotropic Hypogonadism on Bone Density
          101.     Puberty is a time of rapid bone development. This time period is critical in attaining
what we call peak bone density or the maximum bone density that one will acquire in their lifetime
(Elhakeem, 2019).
          102.     Any abnormal lowering of sex hormones occurring during this critical time will
stop the rapid accumulation of bone and therefore lower ultimate adult bone density. If a person
does not achieve peak bone density, they would be expected to be at future risk for osteoporosis
and the potential for debilitating spine and hip fractures as adults. Hip fractures for the older patient
very significantly increase the risk of major morbidity and death (Bentler, 2009). Allowing a
“pause” in puberty for any period of time can lead to an inability to attain peak bone density.
          103.     DEXA scans are used to evaluate changes in bone density and to help evaluate risk
for future fractures. In my practice I order and interpret DEXA scans for this purpose.
          104.     The Z-score of a DEXA scan is used to compare a patient’s bone density to the
same population based on age and sex. For example, a person who has a bone density similar to
the average of the population would be at the 50th percentile. Those who have greater relative
bone density would be above the 50th percentile. Those who have lower bone density would have
a Z score below the 50th percentile.
          105.     Puberty blockers used in adolescence to cause HH will inhibit the normal accrual
of bone density. This can be evaluated by DEXA scan. In a study in the UK, 44 patients aged 12-
15 with gender dysphoria were given puberty blockers and tests of bone density were done at
baseline, 12 months, 24 months and 36 months (Carmichael, 2021).



8
    Jazz’s age is somewhere in the mid-teens during this episode.


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       106.    Figure 2 shows the Z-scores of the average age matched population percentile
which is 50%. It shows the average baseline (before puberty blockers) Z-score percentile for the
study participants. It also shows the bone density percentile at 12, 24, and 36 months. One can see
that the average baseline z score was about 32% compared to peers of similar age and sex. At 12
months this had decreased to about 15%, and by 24 months it had declined further to about 5%
compared to their peers and remained at this low level.




                                            Figure 2
       107.    This is the same pattern of diminishing bone density compared to their peers that
one would see in hypogonadotropic hypogonadism due to a pituitary injury. However, in these
cases hypogonadotropic hypogonadism was caused by GnRH analogues (puberty blocking
medication) that lead to greatly diminished bone density compared to their peers of the same age.




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        108.    In natal females, hypogonadotropic hypogonadism leads to amenorrhea, meaning
the absence of menstrual periods. Amenorrhea is detrimental to bone health: “In addition to this9
important long-term consequence of amenorrhea, other problems, such as premature bone
demineralization or inadequate bone formation, are likely to put amenorrheic women at high risk
for osteoporosis and fracture” (Santoro, 2011, emphasis added).
        109.    Dr. Shumer states “The treatment [puberty blockade] works by pausing endogenous
puberty at whatever stage it is at when the treatment begins, limiting the influence of a person’s
endogenous hormones on their body” (Shumer decl, p. 20). In actuality, allowing a “pause” in
puberty for any period of time leads to an inability to attain peak bone density and puts the patient
at future risk for osteoporosis and serious fractures as I have described.
        110.    Dr. Ladinsky states, “While lower bone density can sometimes occur while a young
person is taking puberty blocking medication, that issue can be managed with the use of
supplemental calcium and attention to weight bearing exercise” (Ladinsky, p. 27). However, Dr
Ladinksy provides no evidence that supplemental calcium and weight bearing exercise alone can
allow a developing adolescent’s bone density to adequately recover from the harms of GnRHa
described above.
        111.    Dr. Ladinsky goes on to say, “When these medications are stopped after a brief
period of use of some 1-3 years (as is our practice), followed by a hormonal puberty, we know
from excellent data that bone density catch-up ensues. This is well documented” (Ladinsky, p. 27
(emphasis added), citing van der Loos 2021). What Dr. Ladinsky calls “hormonal puberty” is the
addition of opposite sex hormones in the referenced van der Loos study. None of the adolescents
in the study “paused” puberty with GnRHa and then were allowed to have their normal, native
puberty continue. The study group consisted solely of a cross sex hormone group, and (as is typical
for these studies) no control group is available to compare bone density changes to those
adolescents who resumed their normal, native puberty.
        112.    Dr. McNamara states, “[c]alcium supplementation has been shown to protect
puberty blocker-treated patients from bone loss” (McNamara decl, p. 13). Once again, Dr.
McNamara makes an incorrect comparison and uses a study of precocious puberty to support her


9
 “This” refers to cardiovascular disease: “Diagnosis and treatment of amenorrheic states is of increasing
clinical importance because lifetime menstrual irregularities are known to be predictive of subsequent CVD
in women.”


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claim. She does not provide evidence of a study examining calcium and GnRHa uses in normally
timed puberty when large and rapid changes in bone growth and bone density are expected.
        113.   Another consideration is the effects of HH in adolescents and late teens on the
maturation of the human brain. Much of what happens is actually unknown. However, “sex
hormones including estrogen, progesterone, and testosterone can influence the development and
maturation of the adolescent brain.” (Arain, 2013). Therefore, there are unknown, but likely
negative, consequences to blocking normal puberty with respect to brain development.
                                  d. Psychosocial Development
        114.   A third major problem with blocking normal puberty involves psychosocial
development. Adolescence is a critical time of physical, mental, and emotional changes for the
adolescent. It is important that they develop socially in conjunction with their peers.
        115.   While I am not a psychologist, I am familiar with and rely upon the literature in this
area for the rationale of the treatment of precocious puberty10. It is generally accepted in
endocrinology that there are psychological benefits to adolescents who go through puberty around
the same time as their peers, and this is why puberty blockers (GnRH analogues) in central
precocious puberty are sometimes used to delay a child’s abnormally early pubertal development
to a more age-appropriate time.
        116.   The development of the adolescent along with their peers is also well recognized in
the psychological literature: “For decades, scholars have pointed to peer relationships as one of the
most important features of adolescence.” (Brown, 2009). If one is left behind for several years
under the impression that they are awaiting opposite sex puberty, they will miss important
opportunities for socialization and psychological development. Psychosocial development will be
necessarily stunted as they are not developing with their peers. This is a permanent harm as the
time cannot be regained.
        117.   Aside from the multiple serious problems that are iatrogenically acquired by
blocking normal puberty, there appear to be independent risks of the puberty blocking medication
themselves. For example, one can read the labeling of a common puberty blocking medication
called Lupron Depot-Ped and find under psychiatric disorders: “emotional lability, such as crying,
irritability, impatience, anger, and aggression. Depression, including rare reports of suicidal

10
  “The other concern often used as a rationale for treatment is negative psychosocial consequences of
precocious puberty, particularly in girls” (Eugster, 2019, emphasis added).


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ideation and attempt. Many, but not all, of these patients had a history of psychiatric illness or
other comorbidities with an increased risk of depression” (Lupron, 2022). This is particularly
concerning given the high rate of psychiatric comorbidity with gender dysphoria (Kaltiala-Heino,
2015).
                                    C. Opposite Sex Hormones
         118.   The third stage of gender affirmative therapy involves using hormones of the
opposite sex (also called cross sex hormones) at high doses to attempt to create secondary sex
characteristics in the person’s body.
         119.   In GAT, what is termed “cross sex hormones” is the use of hormones of the opposite
sex to attempt to create secondary sex characteristics. To do so, very high doses of these hormones
are administered. When hormone levels climb above normal levels they are termed
supraphysiologic.
                                          1. Testosterone
         120.   Testosterone is an anabolic steroid of high potency. It is classified as a Schedule 3
controlled substance by the DEA: “Substances in this schedule have a potential for abuse less than
substances in Schedules I or II and abuse may lead to moderate or low physical dependence or
high psychological dependence” (DEA, 2022). A licensed physician with a valid DEA registration
is required to prescribe testosterone.
         121.   I prescribe testosterone to men for testosterone deficiency. The state of testosterone
deficiency can cause various problems including problems of mood, sexual function, libido, and
bone density. Prescription testosterone is given to correct the abnormally low levels and bring
them back into balance. The dose of testosterone must be carefully considered and monitored to
avoid excess levels in the male as there are a number of serious concerns when prescribing
testosterone. The use of high dose testosterone in females is experimental.
         122.   Contrast the FDA approved use of testosterone in males versus its experimental use
females. Testosterone is FDA approved for use in adult men as well as the pediatric male
population aged 12 and older (Actavis, 2018). There is no FDA approved usage of testosterone for
women or pediatric aged females.11 The prescribing indications for adult males and pediatric males


11
  “Testosterone Cypionate Injection, USP is indicated for replacement therapy in the male in conditions
associated with symptoms of deficiency or absence of endogenous testosterone” (Actavis, 2018, emphasis
added).


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are identical and are to treat the conditions of low testosterone caused by either primary
hypogonadism or secondary hypogonadism (Id.). The intent of testosterone for women and
pediatric aged females in GAT is to cause severe hyperandrogenism. In this case the purpose,
effects, and ultimate outcome of the FDA approved usage of testosterone for males versus the
experimental use for females in GAT are very different. Therefore, the low-quality evidence
guidelines of the Endocrine Society/WPATH are not an acceptable substitute for proper scientific
studies including randomized controlled trials (Malone et al., 2021; Hembree et al., 2017).
        123.   Regarding the potential for abuse, the labeling for testosterone reads: “Testosterone
has been subject to abuse, typically at doses higher than recommended for the approved
indication...Anabolic androgenic steroid abuse can lead to serious cardiovascular and psychiatric
adverse reactions...Abuse and misuse of testosterone are seen in male and female adults and
adolescents...There have been reports of misuse by men taking higher doses of legally obtained
testosterone than prescribed and continuing testosterone despite adverse events or against medical
advice.” (Actavis Pharma, 2018, emphasis added)
        124.   Adverse events with respect to the nervous system include: “Increased or decreased
libido, headache, anxiety, depression, and generalized paresthesia.” (Actavis Pharm, 2018)
        125.   With regard to ultimate height, “[t]he following adverse reactions have been
reported in male and female adolescents: premature closure of bony epiphyses with termination of
growth” (Actavis Pharma, Inc., 2018). What this means is that testosterone applied to the
adolescent will cause premature closure of the growth plates, stopping further gains in height in
the growing individual, and ultimately making the person shorter than they otherwise would have
been.
        126.   With respect to the cardiovascular system of men using ordinary doses, “Long-term
clinical safety trials have not been conducted to assess the cardiovascular outcomes of testosterone
replacement therapy in men” (Actavis Pharma, 2018). No clinical safety trials have been
performed for women or adolescent girls to my knowledge.
        127.   “There have been postmarketing reports of venous thromboembolic events [blood
clots], including deep vein thrombosis (DVT) [blood clot of the extremity such as the leg] and
pulmonary embolism (PE) [blood clot of the lung which may be deadly], in patients using
testosterone products, such as testosterone cypionate” (Actavis Pharma, 2018).




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           128.    A very recently published study of adverse drug reactions (ADRs) as part of gender
affirming hormone therapies in France states that “[o]ur data show a previously unreported, non-
negligible proportion of cases indicating cardiovascular ADRs in transgender men younger than
40 years… In transgender men taking testosterone enanthate, all reported ADRs were
cardiovascular events, with pulmonary embolism in 50% of cases” (Yelehe et al., 2022).
           129.    There are also serious concerns regarding liver dysfunction: “Prolonged use of high
doses of androgens ... has been associated with development of hepatic adenomas [benign tumors],
hepatocellular carcinoma [cancer], and peliosis hepatis [generation of blood-filled cavities in the
liver that may rupture] —all potentially life-threatening complications” (Actavis Pharma, 2018).
                                           a. Hyperandrogenism
           130.    Hyperandrogenism is a medical condition of elevated blood androgens such as
testosterone. As an endocrinologist I frequently evaluate patients to determine if they have the
condition of hyperandrogenism. Hyperandrogenism in the female or male is harmful and can lead
to various maladies.
           131.    In order to diagnose hyperandrogenism, a laboratory blood test of testosterone is
done. In hyperandrogenism, one will find testosterone levels elevated above the reference range.
           132.    For example, for females aged 18 or older, the normal reference range is 2-45 ng/dL
(Quest testosterone, 2023).12 However, in female disease conditions these levels can be much
higher. Levels above this normal reference range are considered hyperandrogenism (figure 3).




                                                  Figure 3



12
     For females aged 11-17 the reference range is <= 40 and below this age group, the range is even lower.


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         133.   For example, in polycystic ovarian syndrome levels may range from 50 to 150
ng/dL.
         134.   I frequently diagnose and treat the hyperandrogen condition called polycystic
ovarian syndrome (PCOS). These patients have elevated testosterone levels. These levels are
mildly to moderately elevated and may range from 50-150. Hyperandrogenism found in PCOS has
been associated with insulin resistance (Dunaif, 1989), metabolic syndrome (Apridonidze, 2005)
and diabetes (Joham, 2014).
         135.   I also evaluate patients to rule out rare androgen producing tumors that generate
very high levels of testosterone. These rare endocrine tumors can cause severely elevated
testosterone levels in the 300-1000 range. Once the cause of a hyperandrogen condition is
identified, treatments may be put in place to help bring the testosterone levels down to the normal
reference range.
         136.   Recommendations from the Endocrine Society’s clinical guidelines related to GAT
are to ultimately raise female levels of testosterone to 320 to 1000 ng/dL13 which is on the same
order as dangerous endocrine tumors for women as described above (Hembree, 2017). A simple
calculation shows this level for the adult may be anywhere from 6 to 100 times higher than native
female testosterone levels. In doing so they are inducing severe hyperandrogenism. These
extraordinarily high levels of testosterone are associated with multiple risks to the physical and
mental health of the patient.
         137.   The following chart shows testosterone levels in the normal adult female range
(blue), PCOS (gray), endocrine tumors (red), and gender affirmative therapy (orange) as part of
female to male (FtM) transition (figure 4).




13
  In the Endocrine Society’s Guidelines there is no grading of evidence for the rationale of using such high
supraphysiologic doses of opposite sex hormones for the female or male. There seems to be an underlying
assumption that because the person believes to be the opposite sex then they acquire the sex specific
laboratory ranges of the opposite sex. “The root cause of this flaw in thinking about diagnostic ranges was
exemplified in a response letter by Rosenthal et al claiming that gender identity determines the ideal
physiologic range of cross-sex hormone levels (5). Thus, a psychological construct, the ‘gender identity’,
is imagined to affect physical reality and change a person’s sex-specific laboratory reference ranges. This
is clearly not the case, otherwise there would be no serious complications of high-dose androgen treatment
in transgender males” (Laidlaw et al., 2021).


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                                             Figure 4.
                      b. Medical Problems Related to Hyperandrogenism
       138.    With respect to cardiovascular risk, “[s]tudies of transgender males taking
testosterone have shown up to a nearly 5-fold increased risk of myocardial infarction relative to
females not receiving testosterone” (Laidlaw et al.,2021; Alzahrani et al., 2019).
       139.    Permanent physical effects of testosterone therapy involve irreversible changes to
the vocal cords. Abnormal amounts of hair growth which may occur on the face, chest, abdomen,
back and other areas is known as hirsutism. Should the female eventually regret her decision to
take testosterone, this body hair can be very difficult to remove. Male pattern balding of the scalp
may also occur. I would expect these changes to occur to the plaintiffs taking testosterone to induce
hyperandrogenism. Common sense suggests that changes of voice and hair growth could be
psychologically troubling should a patient decide to detranstition and attempt to reintegrate into
society as female.
       140.    Changes to the genitourinary system due to hyperandrogenism include polycystic
ovaries, clitoromegaly and atrophy of the lining of the uterus and vagina (Hembree, 2017). The
breasts have been shown to have an increase in fibrous breast tissue and a decrease in normal
glandular tissue (Grynberg et al., 2010). Potential cancer risks from high dose testosterone include




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ovarian and breast cancer (Hembree, 2017). I would expect some or all of these effects and risks
to occur to the plaintiffs taking testosterone to induce hyperandrogenism.
        141.      Dr. McNamara erroneously states that “[t]he effects of cross-sex hormones can be
reversible,” (McNamara decl, p. 14). This is clearly incorrect as effects such as hirsutism,
deepening of the voice, and clitoromegaly are permanent. The long-term effects of starting an
adolescent on puberty blockers in early puberty (Tanner stage 2 or 3) and then adding opposite sex
hormones on ultimate sterility are unknown in the sense that we do not have studies showing
precisely what happens, but based on what we do know, it seems safe to say that opposite sex
hormones are likely cytotoxic to the immature gonads.
        142.      According to research, anabolic steroid abuse14 has been shown to predispose
individuals towards mood disorders, psychosis, and psychiatric disorders. The “most prominent
psychiatric features associated with AAS [anabolic androgenic steroids, i.e., testosterone] abuse
are manic-like presentations defined by irritability, aggressiveness, euphoria, grandiose beliefs,
hyperactivity, and reckless or dangerous behavior. Other psychiatric presentations include the
development of acute psychoses, exacerbation of tics and depression, and the development of acute
confusional/delirious states” (Hall, 2005). Moreover, “[s]tudies... of medium steroid use (between
300 and 1000 mg/week of any AAS) and high use (more than 1000 mg/week of any AAS) have
demonstrated that 23% of subjects using these doses of steroids met the DSM-III-R criteria for a
major mood syndrome (mania, hypomania, and major depression) and that 3.4% — 12%
developed psychotic symptoms” (Hall, 2005).
                        c. Erythrocytosis as a Result of Hyperandrogenism
        143.      I regularly monitor patients who are receiving testosterone to evaluate for
erythrocytosis. Erythrocytosis is a condition of high red blood cell counts. Prolonged
hyperandrogenism such as occurs with the use of testosterone at supraphysiologic levels can cause
erythrocytosis.
        144.      Males and females have different reference ranges for red blood cells (measured as
hematocrit). For example, the normal range of hematocrit for females over age 18 is 35.0-45.0%
and males 38.5-50.0% (Quest Hematocrit, 2023). Levels above this range signify erythrocytosis
(see figure 5).

14
  Anabolic steroid abuse involves the deliberate creation of hyperandrogenism in the body as a result of
high doses of testosterone or other androgens.


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                                             Figure 5.
       145.    As one can see, there is an overlap in the ranges of males and females such that
levels between 45.1 and 50 are considered normal for the male. However, for the female these
levels are considered erythroctotic. Levels above 50 for the male are considered erythrocytosis and
for the female severe erythrocytosis.
       146.    The Madsen study was a “20-year follow-up study in [1,073] adult trans men who
started testosterone therapy and had monitoring of hematocrit at our center” (Madsen, 2021). In
this study, 24% of trans men had hematocrit levels 50% at some time which would be considered
severe erythrocytosis. Unfortunately, they did not examine the hematocrit range of 45-50.
However, one would presume that this would occur in at least the same percentage or higher as
those who had developed severe erythrocytosis.
       147.    Any level of erythrocytosis in young women has been shown to be an independent
risk factor for cardiovascular disease, coronary heart disease and death due to both (Gagnon, 1994).
                                           2. Estrogen
       148.    Estrogen is the primary sex hormone of the female. Prescription estrogen may be
used if a woman has low estrogen levels due to premature failure of her ovaries. Estrogen is
prescribed to bring these levels back into a normal range for the patient’s age. Another labeled use


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of estrogen is to treat menopausal symptoms. The use of estrogen to treat pediatric age males is
experimental.
        149.    Hyperestogenemia is a condition of elevated blood estrogens such as estradiol. I
regularly evaluate patients for hyperestrogenemia in my practice. Hyperestrogenemia in the male
is harmful and can lead to various maladies.
        150.    In order to diagnose hyperestrogenemia, a laboratory blood test of estrogen is
performed. In hyperestrogenemia, one will find estrogen levels elevated above the reference range.
For example, in an adult male the normal estrogen reference range is 60-190 pg/mL (Quest
Estrogen, 2023). Levels above this range are consistent with hyperestrogenemia. See figure 6.




                                               Figure 6.
        151.    There are medical conditions which can result in hyperestrogenemia. For example,
“[t]he concentration of estrogen in cirrhotic patients is thought to increase by fourfold compared
to individuals without cirrhosis” (Pagadala, 2023). Certain rare tumors for example of the adrenal
gland can result in estrogen levels 3 to 10-fold higher than normal (Cavlan, 2010).
        152.    In gender affirmative therapy, the medical condition of hyperestrogenemia is being
deliberately, medically induced by the off-label use of high doses of estrogen. The Endocrine
Society guideline for treating gender dysphoria recommends raising estradiol levels to 2 to 43
times above the normal range.15 The high doses are used in an attempt to primarily affect an
increase of male breast tissue development known as gynecomastia. Gynecomastia is the abnormal




15
  Estradiol is a type of estrogen. The Endocrine Society Guideline recommends raising estradiol levels to
100-200 pg/mL (Hembree, 2017). The normal adult male estradiol range is 7.7-42.6 pg/mL (Labcorp
Estadiol, 2023).


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growth of breast tissue in the male. I evaluate and treat patients with gynceomastia. I have
prescribed medication and have referred patients for surgery for this condition.
        153.    Other changes of secondary sex characteristics may develop because of
hyperestrogenemia such as softening of the skin and changes in fat deposition and muscle
development.
        154.    Long-term consequences of hyperestrogenemia include increased risk of
myocardial infarction and death due to cardiovascular disease (Irwig, 2018). Also “[t]here is strong
evidence that estrogen therapy for trans women increases their risk for venous thromboembolism16
over 5 fold” (Irwig, 2018).
        155.    Breast cancer is a relatively uncommon problem of the male. However, the risk of
a male developing breast cancer has been shown to be 46 times higher with high dose estrogen
(Christel et al., 2019).
        156.    Sexual dysfunction, including decreased sexual desire and decreased spontaneous
erections, is another adverse effect of hyperestrogenemia (Hembree, 2017).
                           3. Opposite Sex Hormones and Infertility/Sterility
        157.    Dr. Shumer introduces the unproven idea that those adolescents who received
puberty blockers in early puberty and then take opposite sex hormones (which will lock them in
early puberty) may be able at some point as adults stop the hormones and then advance through
their normal physiologic puberty. He states, “If attempting fertility after previous treatment with
GnRHa followed by hormone therapy is desired, an adult patient would withdraw from hormones
and allow pubertal progression” (Shumer decl, p. 25). However, he provides no evidence that this
is even possible. In fact, the evidence suggests that it is not.
        158.    Dr. McNamara erroneously states that “[t]he effects of cross-sex hormones can be
reversible,” (McNamara decl, p. 14). This is clearly incorrect as effects such as hirsutism,
deepening of the voice, and clitoromegaly are permanent. The effects on ultimate fertility of
starting an adolescent on puberty blockers in early puberty (Tanner stage 2 or 3), adding opposite
sex hormones, and then stopping hormone treatment altogether are unknown at best. For example,
there is no evidence so far that a male patient’s testicles would continue to develop normally in



16
  Venous thromboembolism is a blood clot that develops in a deep vein and “can cause serious illness,
disability, and in some cases, death” (CDC, 2022).


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order to produce an ejaculate with healthy, mature sperm capable of fertilization under those
circumstances.
       159.      Dr. McNamara claims otherwise, asserting that the “return of spermatogenesis
typically occurs in patients who discontinue hormone treatment” (McNamara decl, p. 15).
Ironically, in the study she uses to support her assertion, all of the subjects had their testicles
removed by orchiectomy and were therefore sterilized (de Nie et al., 2022). The study also states
that “[m]ature spermatozoa were encountered in 4.7% of orchiectomy specimens, all from
transgender women who had initiated medical treatment in Tanner stage 4 or higher”. Therefore,
there were no mature spermatozoa in those patients whose puberty was blocked prior to Tanner
stage 4. That finding is consistent with infertility and potential sterility caused by GAT.
                                              D. Surgeries
       160.      The fourth stage of gender affirmative therapy is surgical alterations of the body of
various kinds in an attempt to somehow mimic features of the opposite sex.
       161.      Dr. Shumer states that “The transition process in adolescence typically includes (i)
social transition and/or (ii) medications, including puberty-delaying medication and hormone
therapy” (Shumer decl, p. 18). However, Dr. Shumer neglects to describe surgeries as a part of the
transition process. This is important to note because although endocrinologists like him and I do
not typically perform surgery, we do refer patients for surgeries and need to be aware of the risks,
benefits, complications, and long-term outcomes. This is also important to note because transition
surgeries, in particular mastectomies, are being performed on minors throughout the country.
       162.      Individual surgical procedures can be a complex topic. It is helpful to first step back
and consider conceptually what any surgery can and cannot accomplish.
       163.      In its basic form surgery is subtractive. In other words, a portion of tissue, an organ,
or organs are removed in order to restore health. For example, a diseased gallbladder may be
surgically removed to help the patient get back to wellness. An infected appendix may be surgically
removed to prevent worsening infection or even death. In both of these cases an unhealthy body
part is surgically removed in order to restore health.
       164.      In some cases a diseased tissue or organ is removed so that a foreign replacement
part may be substituted for an unhealthy organ or tissue. For example, a diseased heart valve may
be replaced with a pig valve or a prosthetic heart valve. Another example is a failed liver may be
replaced by liver transplant.



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       165.    Though modern surgical techniques and procedures are astounding, there are very
noteworthy limitations. Importantly, surgery cannot de novo create new organs. If a person’s
kidneys fail, the surgeon has no scientific method for creating a new set of kidneys that can be
implanted or grown within the patient. This conceptual background is helpful when considering
various gender affirming surgeries.
       166.    There are a variety of gender affirming surgeries for females. These may include
mastectomies, metoidioplasty, and phalloplasty.
                                          1. Mastectomy
       167.    Mastectomies are the surgical removal of the breasts. The procedure is used in GAT
in an attempt to make the chest appear more masculine. The surgery results in a permanent loss of
the ability to breastfeed and significant scarring of 7 to 10 inches. The scars are prone to widening
and thickening due to the stresses of breathing and arm movement. Other potential complications
include the loss of normal nipple sensation and difficulties with wound healing (American Cancer
Society, 2022).
       168.    It is important to note that this operation cannot be reversed. The female will never
regain healthy breasts capable of producing milk to feed a child (Mayo Clinic, Top Surgery, 2022).
       169.    Another important consideration is that compared to the removal of an unhealthy
gallbladder or appendix, in the case of gender dysphoria the breasts are perfectly healthy and there
is no organic disease process such as a cancer warranting their removal.
                                      2. GAT Surgeries on the Male
       170.    GAT surgeries for the male include removal of the testicles alone to permanently
lower testosterone levels. This is by nature a sterilizing procedure. Further surgeries may be done
in an attempt to create a pseudo-vagina; that procedure is called vaginoplasty. In this procedure,
the penis is surgically opened and the erectile tissue is removed. The skin is then closed and
inverted into a newly created cavity in order to simulate a vagina. A dilator must be placed in the
new cavity for some time so that it does not naturally close.
       171.    Potential surgical complications may include urethral strictures, infection, prolapse,
fistulas and injury to the sensory nerves with partial or complete loss of erotic sensation (Mayo
Clinic, Feminizing Surgery, 2022).




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                      3. GAT Surgeries of the Female Pelvis and Genitalia
        172.     Other types of surgery for females include those of the genitalia and reproductive
tract. For example, the ovaries, uterus, fallopian tubes, cervix and the vagina may be surgically
removed. Removal of the ovaries results in sterilization.
        173.     Importantly, removing female body parts does not produce a male. Rather, the
female has had sex-specific organs permanently destroyed with no hope of replacement, while
remaining biologically female.
        174.     There have also been attempts to create a pseudo-penis. This procedure is known
as phalloplasty. It is not possible to de novo create a new human penis. Instead, a roll of skin and
subcutaneous tissue is removed from one area of the body, say the thigh or the forearm, and
transplanted to the pelvis. An attempt is made to extend the urethra or urinary tract for urination
through the structure. This transplanted tissue lacks the structures inherent in the male penis which
allow for erection, therefore erectile devices such as rods or inflatable devices are placed within
the tube of transplanted tissue in order to simulate erection (Hembree, 2017). The labia may also
be expanded to create a simulated scrotum containing prosthetic objects to provide the appearance
of testicles.
        175.     Complications may include urinary stricture, problems with blood supply to the
transplanted roll of tissue, large scarring to the forearm or thigh, infections including peritonitis,
and possible injury to the sensory nerve of the clitoris (Mayo Clinic, Masculinizing Surgery, 2022).
A recent systematic review and meta-analysis of 1731 patients who underwent phalloplasty found
very high rates of complications (76.5%) including a urethral fistula rate of 34.1% and urethral
stricture rate of 25.4% (Wang, 2022).
                III. The Lack of Evidence Supporting Gender-Affirming Therapy
        176.     There is not a medical consensus supporting the use of puberty blockers and cross-
sex hormones for the treatment of gender dysphoria. In my opinion, there is insufficient evidence
to conclude that any benefit of such treatment would outweigh the harm, particularly given the
evidence of a rapid rise in cases of youth gender dysphoria, the high rates of coexisting mental
health comorbidities, and naturally high rates of desistance.




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      A. The Endocrine Society, WPATH, and Other Pro-Affirmation Organizations
       177.    Dr. Shumer states, “Standards of care have been published by several long-standing
and well-respected medical bodies,” and he cites the WPATH Standards of Care and the Endocrine
Society’s 2017 Guideline (ESG) (Shumer decl, p. 15-16). I will address each in turn.
                                           1. WPATH
       178.    WPATH has functioned primarily as an advocacy organization for promoting social
and political activism rather than as a strictly scientific organization. Unlike a scientific
organization that must allow for internal debate to clarify issues of uncertainty, WPATH has
actively sought to stymie such debate. As an example, Dr. Kenneth Zucker, whom I cited earlier,
is a psychologist who led the Child Youth and Family Gender Clinic in Toronto, which was “one
of the most well-known clinics in the world for children and adolescents with gender dysphoria”
(Singal, 2016). He also led the group which wrote the DSM’s gender dysphoria section. (Id.)
       179.    Zucker has been a longstanding member of WPATH. In fact, his work was cited 15
times in the 2012 WPATH Standards of Care 7 (Bazelon, 2022). Dr. Zucker discovered over the
course of nearly forty years of clinical research “that most young children who came to his clinic
stopped identifying as another gender as they got older” (Id.).
       180.    Dr. Zucker was invited to speak to the USPATH’s 2017 inaugural conference.
During his presentation, protestors disrupted his talk and made demands of WPATH. “That
evening, at a meeting with the conference leaders, a group of advocates led by transgender women
of color read aloud a statement in which they said the ‘entire institution of WPATH’ was “violently
exclusionary’ because it ‘remains grounded in ‘cis-normativity and trans exclusion.’ The group
asked for cancellation of Zucker’s appearance on a second upcoming panel. Jamison Green, a trans
rights activist and former president of WPATH, said the board agreed to the demand. ‘We are very,
very sorry,’ he said.” (Bazelon, 2022).
       181.    As an example of WPATH’s one-sided political advocacy, consider also the recent
inflammatory message by WPATH president Marci Bowers, MD in a letter to members. Writing
about laws like Alabama’s that seek to protect vulnerable minors from experimental procedures,
Bowers wrote: “Ultimately, what terrifies conservatives most is that gender diversity is a force of
nature that can no longer be contained by religious conscription or enforcement of a gender
binary.” Bowers concluded: “Anti-trans legislation needs to be fought with every voice, every
thought, every inclination by all who know it. We need to make anti-trans legislation a losing


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political issue.” (Bowers 2023). These statements are social-political advocacy statements and
rallying cries, not scientific arguments. They reduce any disagreement or concern regarding the
safety and efficacy of GAT for minors to “anti-trans” religious-based bigotry, and they leave no
space for those who are concerned that, based on current scientific knowledge, the risks of GAT
for minors outweigh their known benefits. In my experience, these statements are sadly indicative
of WPATH’s primary role as a political and social advocacy organization, not a scientific one.
        182.    As for WPATH’s Standards of Care 8 (SOC 8), these were published Sep. 6, 2022
(Coleman et al., 2022) and are endorsed by Dr. Shumer as representing an “expert consensus for
clinicians related to medical care for transgender people, based on the best available science and
clinical experience” (Shumer decl, p. 16). However, there are multiple serious problems with this
document such that any clinician who follows its recommendations puts the youth of Alabama at
great risk.
        183.    In a correction to the SOC 8, all guidelines for minimum age of opposite sex
hormones were removed (Correction IJTH, 2022). All guidelines for minimum age of surgery were
also removed, meaning a minor of any age could be referred for any of the GAT surgeries listed
previously (Id.).
        184.    The correction reads: “On page S258, the following text was removed:
‘The following are suggested minimal ages when considering the factors unique to the adolescent
treatment time frame for gender-affirming medical and surgical treatment for adolescents, who
fulfil all of the other criteria listed above.
                – Hormonal treatment: 14 years
                – Chest masculinization: 15 years
                – Breast augmentation, Facial Surgery: 16 years
                – Metoidioplasty, Orchiectomy, Vaginoplasty,
                – Hysterectomy, Fronto-orbital remodeling: 17 years
                – Phalloplasty: 18 years’” (WPATH SOC 8 Correction, p. S261).
      185.      Of great concern is that the minimum age recommendations were retracted, it
appears, in contradiction to the recommendation of their own expert consensus:
        “On page S66, the following text was removed:
         ‘Age recommendations for irreversible surgical procedures were determined by a
        review of existing literature and the expert consensus of mental health providers,


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          medical providers, and surgeons highly experienced in providing care to TGD
          adolescents.’” (WPATH SOC 8 Correction, p. S260, emphasis added).
          186.    Naturally, removing age limits for hormones and surgeries which have life altering
physical consequences should only be done with the primary goal of obtaining the best possible
health outcome for each patient. This should also be done with solid research and long-term studies
justifying these treatments for young, developing persons.
          187.    However, WPATH’s own statements show that liability and politics were their
primary motivations. According to SOC8 author Dr. Tishleman the changes were made in order
to help ensure that doctors would not be liable for malpractice suits if they deviated from their new
standards (Davis 2022). Additionally, WPATH’s president said that to “propose” surgeries at
newly set lower age recommendations would necessitate a “better political climate” (Ghorayshi
2022).
          188.    Another concerning component of SOC 8 is a new chapter regarding eunuchs that
gives recommendations for how to induce hypogonadism in men who have the eunuch “gender
identity”17 by either orchiectomy (testicle removal) or chemical castration such as with GnRH
analogues (Coleman et al., 2022)18.
          189.    The SOC8 also used an aberrant form of the GRADE approach for systematic
reviews that removed the grading of quality of evidence (which should be categorized as very low,
low, moderate, and high quality).19 Instead any recommendation of “recommend” is automatically
assigned as high quality of evidence. SOC 8 also failed to provide evidence profile tables which



17
  The notion that there is a “eunuch gender identity” further invalidates the gender identity as a serious
biological property of human beings: “Many eunuch individuals see their status as eunuch as their distinct
gender identity with no other gender or transgender affiliation” (Coleman et al., 2022, p. S88).
18
     “Treatment options for eunuchs to consider include:
          • Hormone suppression to explore the effects of androgen deficiency for eunuch individuals
          wishing to become asexual, nonsexual, or androgynous;
          • Orchiectomy [testicle removal] to stop testicular production of testosterone;
          • Orchiectomy with or without penectomy to alter their body to match their self-image;
          • Orchiectomy followed by hormone replacement with testosterone or estrogen. “ (Id.)
19
     From SOC 8 “The [recommendation] statements were classified as:
          • Strong recommendations (“we recommend”) are for those interventions/therapy/strategies where:
          • the evidence is of high quality” (Id., p. S250).


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should include “an explicit judgment of each factor that determines the quality of evidence for
each outcome” (Guyatt et al., 2021).
        190.   Such a modification of GRADE is explicitly recommended against in the
referenced GRADE document20 and in so doing, in my opinion, invalidates all of the SOC 8
recommendations as being evidence-based.
        191.   For at least the reasons above, in my professional opinion WPATH SOC 8 is the
work of advocacy, not science, and should not be followed by any physician, mental health care
provider, or other medical professionals.
                                       2. Endocrine Society
        192.    I have been a member in good standing of the Endocrine Society since 2006 and
have attended meetings, presented an abstract, and received an Endocrine Society travel award. I
have also been a long-time subscriber to their flagship journal, The Journal of Clinical
Endocrinology and Metabolism, in which I have had two letters to the editor published.
        193.   It is notable that the Endocrine Society itself never claimed that its guideline should
be considered the standard of care. In fact, quite the opposite. The Endocrine Society states that its
“guidelines cannot guarantee any specific outcome, nor do they establish a standard of care”
(Hembree et al, 2017, p. 3895, emphasis added).
        194.   It is also notable that nine out of ten authors of the Endocrine Society Guideline
were members of WPATH or worked on WPATH’s scientific committees. According to
WPATH’s website, seven of those nine had at some time been in WPATH leadership, including
the WPATH presidency and board of directors.
        195.   Dr. Shumer states, “Options for treatment after the onset of puberty include the use
of gonadotropin-releasing hormone agonists (‘GnRHa’) for purposes of preventing progression of
pubertal development, and hormonal interventions such as testosterone and estrogen
administration. These treatment options are based on robust research and clinical experience,
which consistently demonstrate safety and efficacy” (Shumer decl, p. 15). However, he presents
no evidence to support his claim of robust evidence.


20
   From the GRADE guidelines: “Some organizations have used modified versions of the GRADE
approach. We recommend against such modifications because the elements of the GRADE process are
interlinked because modifications may confuse some users of evidence summaries and guidelines, and
because such changes compromise the goal of a single system with which clinicians, policy makers, and
patients can become familiar” (Guyatt et al., 2011).


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       196.    In fact, with respect to the Endocrine Society’s guidelines, the quality of evidence
for the treatment of adolescents is rated “very low-quality evidence” and “low quality evidence”.
“The quality of evidence for [puberty blocking agents] is noted to be low. In fact, all of the
evidence in the guidelines with regard to treating children/adolescents by [gender affirmative
therapy] is low to very low because of the absence of proper studies” (Laidlaw et al., 2019).
       197.    Unlike some other recommendations for adolescent GAT, the Endocrine Society’s
guidelines do not include any grading of the quality of evidence specifically for their justification
of laboratory ranges of testosterone or estrogen or for adolescent mastectomy or other surgeries.
       198.    Endocrinologists William Malone and Paul Hruz and other colleagues have written
critically of the Endocrine Society’s guidelines: “Unlike standards of care, which should be
authoritative, unbiased consensus positions designed to produce optimal outcomes, practice
guidelines are suggestions or recommendations to improve care that, depending on their sponsor,
may be biased. In addition, the ES claim of effectiveness of these interventions is at odds with
several systematic reviews, including a recent Cochrane review of evidence, and a now corrected
population-based study that found no evidence that hormones or surgery improve long-term
psychological well-being. Lastly, the claim of relative safety of these interventions ignores the
growing body of evidence of adverse effects on bone growth, cardiovascular health, and fertility,
as well as transition regret” (Malone et al., 2021) (footnotes omitted).
       199.    In June of 2022, the Endocrine Society published “Enhancing the Trustworthiness
of the Endocrine Society’s Clinical Practice Guidelines” (McCartney et al., 2022). It wrote: “In an
effort to enhance the trustworthiness of its clinical practice guidelines, the Endocrine Society has
recently adopted new policies and more rigorous methodologies for its guideline program.” (Id.)
The document relates that in 2019, the ECRI Guidelines Trust “asked the Society for permission
to include its guidelines in the ECRI Guidelines Trust database”. However, after an evaluation by
ECRI, the guideline related to osteoporosis “was the only guideline for which all recommendations
were based on verifiable systematic evidence review with explicit descriptions of search strategy,
study selection, and evidence summaries” (Id.). It follows that the recommendations from the ESG
2017 on Gender Dysphoria/Gender Incongruence were not all recommendations “based on
verifiable systematic evidence review with explicit descriptions of search strategy, study selection,
and evidence summaries.” Furthermore, these ESG 2017 were highly subject to conflicts of
interest. As related earlier, nine out of the 10 authors were members or worked on the scientific


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committees of the advocacy group WPATH. Additionally, WPATH was a cosponsoring
organization of the 2017 Guideline. The “Enhancing Trustworthiness” article recommends the
opposite composition of authors for guidelines: “A majority (>50%) of non-Chair GDP members
must be free of relevant C/DOI [conflict/duality of interest]” (McCartney et al., 2022).
        200.     Further problems with the Endocrine Society’s guidelines are highlighted in a
recent BMJ Investigation article. It reads: “Guyatt, who co-developed GRADE, found ‘serious
problems’ with the Endocrine Society guidelines, noting that the systematic reviews didn’t look at
the effect of the interventions on gender dysphoria itself, arguably ‘the most important outcome.’
He also noted that the Endocrine Society had at times paired strong recommendations—phrased
as ‘we recommend’—with weak evidence. In the adolescent section, the weaker phrasing ‘we
suggest’ is used for pubertal hormone suppression when children ‘first exhibit physical changes of
puberty’; however, the stronger phrasing is used to ‘recommend’ GnRHa treatment. ‘GRADE
discourages strong recommendations with low or very low-quality evidence except under very
specific circumstances,’ Guyatt told the BMJ. Those exceptions are ‘very few and far between’”
(Block, 2023).
        201.     It is clear that with respect to the subject of gender dysphoria, the Endocrine Society
has acted as a vassal organization of WPATH’s social-political advocacy group rather than an
independent medical society generating its own scientific opinions. In my opinion, the Endocrine
Society’s guidelines do not provide a standard of care that any physician should follow.
       3. Social-Political Advocacy by Organizations Supporting Gender Affirmation
        202.     It is concerning that organizations purporting to establish medical guidelines and
standards of care for gender dysphoria are often in the political advocacy role for numerous social
positions that have little direct relation to the practice of medicine. For example, WPATH issued
a statement on race relations.21 The American Medical Association22 has weighed in on affirmative


21
   “USPATH, WPATH, EPATH Joint Statement, Black Lives Matter – A Call to Action,” June 18, 2020,
https://www.wpath.org/media/cms/Documents/Public%20Policies/2020/FINAL%20WPATH%20USPAT
H%20EPATH%20BLM%20Statement%20Approved%20Jun%2018%202020.pdf
22
  The AMA is hardly representative of the majority of physicians of the United States. Business Insider
wrote that “it counts fewer than 25 percent of practicing physicians as members, down from 75 percent in
the 1950s.” Graham, J. “‘Like a slap in the face’: Doctors no longer feel the nation’s largest doctors group
represent their interests.” Dec. 22, 2016. https://www.businessinsider.com/doctors-american-medical-
association-2016-12


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action,23 climate change,24 immigration,25 gun control,26 nuclear weapons,27 the conflict in
Ukraine,28 whether lifetime imprisonment for minor felons is cruel and unusual punishment,29 and
whether biological males should play on female sports teams.30 The American Academy of




23
      AMA.      “Fisher  v.   University      of   Texas     at    Austin.”   https://searchltf.ama-
assn.org/case/documentDownload?uri=%2Funstructured%2Fbinary%2Fcase%2FCase-Summary_Fisher-
v-Univ-TX-Austin.pdf. AMA. “Students for Fair Admissions v. Harvard and UNC.” https://searchltf.ama-
assn.org/case/documentDownload?uri=%2Funstructured%2Fbinary%2Fcase%2FStudents_for_Fair_Adm
issions_v__Harvard_and_UNC.pdf
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   AMA. “AMA adopts new policy declaring climate change a public health crisis.” June 13, 2022.
https://www.ama-assn.org/press-center/press-releases/ama-adopts-new-policy-declaring-climate-change-
public-health-crisis; Br. of Amici Curiae American Thoracic Society, American Medical Association,
American Academy of Pediatrics, American College of Physicians, and Leaders of Public Health Schools,
et al. in Support of Respondents, West Virginia v. U.S. EPA, No. 20-1530,
https://www.supremecourt.gov/DocketPDF/20/20-
1530/211345/20220125165209968_ELJC_WestVAvEPA_PublicHealthAmicus.pdf.
25
  AMA. “Trump v. Hawaii.” https://searchltf.ama-
assn.org/case/documentDownload?uri=%2Funstructured%2Fbinary%2Fcase%2FCase-Summary_Trump-
v-Hawaii.pdf
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  AMA. “Webber v. Armslist, LLC.” https://searchlf.ama-
assn.org/case/documentDownload?uri=%2Funstructured%2Fbinary%2Fcase%2FWebber_v__Armslist_L
LC.pdf; AMA. “New York State Rifle & Pistole Assn. v. Bruen.” https://searchlf.ama-
assn.org/case/documentDownload?uri=%2Funstructured%2Fbinary%2Fcase%2FNew_York_State_Rifle
___Pistol_Assn__v__Bruen.pdf
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  AMA. “AMA urges elimination of nuclear weapons.” Nov. 18, 2015. https://www.ama-
assn.org/delivering-care/public-health/ama-urges-elimination-nuclear-weapons
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  AMA. “Senseless war in Ukraine sparks physician aid response.” Mar. 22, 2022. https://www.ama-
assn.org/delivering-care/public-health/senseless-war-ukraine-sparks-physician-aid-response
29
   AMA. “Graham v. Florida.” https://searchltf.ama-
assn.org/case/documentDownload?uri=%2Funstructured%2Fbinary%2Fcase%2FCase-
Summary_Graham-v-FL.pdf. Interestingly, the AMA argued that when it comes to imprisonment, courts
should consider that the adolescent brain differs from the adult brain “and how such differences are likely
to affect children’s personalities and ability to make considered judgments.” When it comes to
transitioning treatments for minors, though, the AMA appears to argue that adolescents are perfectly
capable of consenting to care that may leave the child infertile and with impaired sexual function.
30
  AMA. “Hecox v. Little.” https://searchlf.ama-
assn.org/case/documentDownload?uri=%2Funstructured%2Fbinary%2Fcase%2FHecox_v__Little.pdf


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Pediatrics has advocated on issues such as affirmative action,31 climate change,32 gun control,33
immigration,34 same-sex marriage,35 and nuclear weapons.36 And the Endocrine Society has issued
statements on “eradicating racism”37 and climate change.38 Regardless of the specific views these
organizations have taken and whether one might agree or disagree with those views, the
organizations’ advocacy concerning primarily political issues raises concerns that their views
regarding gender affirming therapy may not be based on a full debate of the scientific evidence


31
  Br. for Amici Curiae Association of Am. Medical Colleges et al. in support of Respondents. Students
for Fair Admissions, Inc. v. President and Fellows of Harvard College. No. 20-1199 & 21-707.
https://www.supremecourt.gov/DocketPDF/20/20-1199/232119/20220728171113348_20-
1199%20and%2021-
707%20Amicus%20Brief%20for%20Association%20of%20American%20Medical%20Colleges%20et%
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(2015) 136 (5): 992-997. https://publications.aap.org/pediatrics/article/136/5/992/33836/Global-Climate-
Change-and-Children-s-Health?autologincheck=redirected
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  AAP. “Universal Background Checks for Gun Purchases.” https://www.aap.org/en/advocacy/state-
advocacy/universal-background-checks-for-gun-purchases/; AAP. “Waiting Periods for Firearms
Purchases.” https://www.aap.org/en/advocacy/state-advocacy/waiting-periods-for-firearms-purchases/
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Immigrants and Refugees.” Feb. 14, 2017.
https://www.abp.org/sites/abp/files/pdf/immigration_eo_statement.pdf
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and Well-being of Children.” Pediatrics (2006) 118 (1): 349-364.
https://publications.aap.org/pediatrics/article/118/1/349/69577/The-Effects-of-Marriage-Civil-Union-and-
Domestic; Committee on Psychosocial Aspects of Child and Family Health. “Promoting the Well-Being
of Children Whose Parents are Gay or Lesbian.” Pediatrics (2013) 131 (4): 827-830.
https://publications.aap.org/pediatrics/article/131/4/827/31789/Promoting-the-Well-Being-of-Children-
Whose-Parents
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121 (5): e1430-e1433. https://publications.aap.org/pediatrics/article/121/5/e1430/73491/Taking-a-Stand-
Against-Nuclear-Proliferation-The
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  Dhaliwal, R., et al. “Eradicating Racism: An Endocrine Society Policy Perspective.” The Journal of
Clinical Endocrinology & Metabolism, Vol. 107, Issue 5 (May 2022), 1205-1215,
https://academic.oup.com/jcem/article/107/5/1205/6505234?
38
  Stewart, P. et al. “Environmental Pollution, Climate Change, and a Critical Role for the
Endocrinologist.” The Journal of Clinical Endocrinology & Metabolism, Vol. 106, Issue 12 (Dec. 2021),
3381-3384. https://academic.oup.com/jcem/article/106/12/3381/6410138.


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and may instead be influenced, perhaps unintentionally, by their desire to be on a particular side
of another social issue of the day.
                            B. Dr. Antommaria’s Faulty Comparison of GAT to CPR
           203.    Dr. Antommaria states that “[g]uidelines issued by other professional associations
concerning pediatric medical care rely on similar quality evidence” and uses as an example “the
American Heart Association’s (AHA’s) guideline for Pediatric Basic and Advanced Life Support”
(Antommaria, p. 14).
           204.    Dr. Antommaria fails to recognize that the purpose and use of hormones and
surgeries in GAT is fundamentally different than cardiopulmonary resuscitation for life support.
Dr. Antommaria also fails to distinguish the experimental use of sex hormones in GAT for
adolescents compared to the FDA approved usage of sex hormones as hormone replacement for
hormone deficiencies (See also II.C.1).
           205.    The purpose of the American Heart Association’s guideline is to restore normal
“blood flow to vital organs” in order to “increase the likelihood of return of spontaneous
circulation” (Topjian et al., 2020). In contrast to the restoration of normal function by the
application of CPR, the purpose of the WPATH/Endocrine Society guideline for GAT is to
intentionally disrupt normal endocrine function by generating the abnormal medical conditions of
hypogonadotropic hypogonadism, hyperandrogenism, and hyperestrogenemia. It also advocates
for the removal of healthy organs such as breasts, testicles, ovaries, penises, vaginas and uteruses
in order to render these organs non-functional.
           206.    The purpose of chest compressions and the requirements of high-quality CPR are
no different for adults compared to children and adolescents. The purpose of both are to “restore
blood flow” to vital organs such as the heart and brain.39 Likewise, what constitutes high-quality



39
     Pediatric guideline:
           “High-quality CPR generates blood flow to vital organs and increases the likelihood of return of
           spontaneous circulation (ROSC). The 5 main components of high-quality CPR are (1) adequate
           chest compression depth, (2) optimal chest compression rate, (3) minimizing interruptions in CPR
           (ie, maximizing chest compression fraction or the proportion of time that chest compressions are
           provided for cardiac arrest), (4) allowing full chest recoil between compressions, and (5) avoiding
           excessive ventilation.” (Topjian et al., 2020).
Adult guideline:



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CPR (components such as proper rate and depth of chest compressions and avoiding
overventilation) are the same in adults as they are in children and adolescents. Because the
mechanisms of cardiopulmonary function are similar in adults and children it is logically inferred
that the techniques used for CPR in adults will be fairly similar and have relatively similar effects
in children and adolescents. Therefore guidelines of lower quality evidence in children and
adolescents for CPR are acceptable because the purpose, what constitutes high quality CPR, and
the ultimate outcomes are similar for both.
              C. High Rates of Completed Suicide and Psychiatric Complications in GAT
       207.     Dr. McNamara claims that “[t]he evidence shows that standard medical treatments
for gender dysphoria improve mental health outcomes, including reducing rates of suicidal ideation
and suicide attempts,” (McNamara decl, p. 3, emphasis added). She goes on to say that
“Defendants’ experts have previously asserted that essential medical treatment for gender
dysphoria causes suicide; however, no study has found a worsening of various mental health
measures among recipients of essential medical treatment for gender dysphoria.” (McNamara decl,
p. 11). As shown below, Dr. McNamara is incorrect.
       208.     The most comprehensive study of GAT of its kind is from Sweden in 2011. The
authors examined data over a 30-year time period (Dhejne, 2011). The Dhejne team made
extensive use of numerous Swedish database registries and examined data from 324 patients in
Sweden over 30 years who had taken opposite sex hormones and had undergone sex reassignment
surgery. They used population controls matched by birth year, birth sex, and reassigned sex. When
followed out beyond ten years, the sex-reassigned group had nineteen times the rate of completed
suicides and nearly three times the rate of all-cause mortality and inpatient psychiatric care
compared to the general population of Sweden.
       209.     The recent study published by Chen and Olson-Kennedy et al. confirms the inherent
danger of gender affirmative therapy found in the Dhejne study. The New England Journal of
Medicine recently published “Psychosocial Functioning in Transgender Youth after 2 Years of



       “For any cardiac arrest, rescuers are instructed to call for help, perform CPR to restore coronary
       and cerebral blood flow” (Panchal et al., 2020).
       “A number of key components have been defined for high-quality CPR, including minimizing
       interruptions in chest compressions, providing compressions of adequate rate and depth, avoiding
       leaning on the chest between compressions, and avoiding excessive ventilation” (Id.).


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Hormones,” for which Dr. Johanna Olson-Kennedy is the principal investigator (Chen, Olson-
Kennedy, et al., 2023). This arm of her study included 315 adolescents aged 12 to 20 years old
who were taking high dose hormones of the opposite sex. The study was not randomized and had
no control group. The authors report that 2 out 315 subjects died by suicide. The authors also report
“The most common adverse event was suicidal ideation” in 11 subjects.
       210.    The death by suicide of 2 out of 315 subjects equates to approximately 317 suicide
deaths per 100,000 patient-years. If we compare this figure to that of the UK’s largest gender
identity service, Tavistock, the “annual suicide rate is calculated as 13 per 100,000” patient-years
(Biggs, 2021). The death-by-suicide rate was approximately 24 times higher in Dr. Olson-
Kennedy’s study compared to the much larger Tavistock Clinic. In fact, Professor Biggs reports
that two of the four suicide deaths from the Tavistock data were of patients who were on the
waiting list and “would not have obtained treatment” (Id.). This strongly suggests that the use of
high dose opposite sex hormones in Dr. Olson-Kennedy’s study was associated with a much higher
death rate. NIH produced the consent forms related to this study pursuant to a FOIA request my
colleague submitted. I have reviewed them and provided them to counsel for the Defendants.
Unfortunately, of the many side effects of hormone therapy listed on the study’s consent forms,
death by suicide (or by any cause) is not listed and was not disclosed to participants.
       211.    Unfortunately, unlike the Dhejne study, the Olson-Kennedy study provides little
other useful data about outcomes such as psychiatric hospitalizations, suicide attempts, or rates of
comorbid psychiatric illness. These facts would be useful to know to determine how high-dose
opposite hormones and gender affirmative therapy affect overall health and their association with
death by suicide. All of the data collected to date in Dr. Olson-Kennedy’s publicly funded study
the “The Impact of Early Medical Treatment in Transgender Youth” should be released to the
public so that other researchers and clinicians can determine how puberty blockers, opposite sex
hormones, and mastectomy surgeries affect adolescent physical and mental health.
       212.    Other published studies of GAT’s relationship with mental health outcomes have
been shown to have serious errors. For example, a major correction was issued by the American
Journal of Psychiatry. The authors and editors of a 2020 study, titled “Reduction in mental health
treatment utilization among transgender individuals after gender-affirming surgeries: a total
population study” (Bränström study, 2020) retracted their original primary conclusion. Letters to
the editor by twelve authors including myself led to a reanalysis of the data and a corrected


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conclusion stating that in fact the data showed no improvement in mental health for transgender
identified individuals after surgical treatment nor was there improvement with opposite sex
hormones (“Correction”, 2020; Van Mol et al., 2020).
       213.    The initial reports of this study claimed that the authors found treatment benefits
with surgery, and this was shared widely in the media. For example, ABC News posted an article
titled “Transgender surgery linked with better long-term mental health, study shows” (Weitzer,
2019). An NBC news/Reuters headline reads: “Sex-reassignment surgery yields long-term mental
health benefits, study finds” (Reuters, 2019).
       214.    However, after twelve authors from around the world (including our team)
investigated the study in detail, a number of serious errors were exposed leading to a retraction
(Kalin, 2020; Anckarsäter et al., 2020).
       215.    In our letter to the editor, which I co-wrote with former Chairman of Psychiatry at
Johns Hopkins Medical School, Paul McHugh, MD, we noted key missing evidence in the original
Branstrom report when compared to the previous body of knowledge yielded from the Swedish
Dhejne study. We wrote that “[t]he study supports only weak conclusions about psychiatric
medication usage and nothing decisive about suicidality. In overlooking so much available data,
this study lacks the evidence to support its pro gender-affirmation surgery conclusion” (Van Mol,
Laidlaw, et al., 2020).
       216.    In another letter, Professor Mikael Landen wrote that “the authors miss the one
conclusion that can be drawn: that the perioperative transition period seems to be associated with
high risk for suicide attempt. Future research should use properly designed observational studies
to answer the important question as to whether gender-affirming treatment affects psychiatric
outcomes” (Landen, 2020).
       217.    In another letter to the editor, psychiatrist David Curtis noted that “[t]he study
confirms the strong association between psychiatric morbidity and the experience of incongruity
between gender identity and biological sex. However, the Branstrom study does not demonstrate
that either hormonal treatment or surgery has any effect on this morbidity. It seems that the main
message of this article is that the incidence of mental health problems and suicide attempts is
especially high in the year after the completion of gender-affirming surgery” (Curtis, 2020).
       218.    In yet another critical letter, Dr. Agnes Wold stated that “[w]hether these factors
involve a causal relationship (i.e., that surgery actually worsens the poor mental health in


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individuals with gender dysphoria) cannot be determined from such a study. Nevertheless, the data
presented in the article do not support the conclusion that such surgery is beneficial to mental
health in individuals with gender dysphoria” (Wold, 2020).
         219.   While it is true that patients suffering from gender dysphoria have higher rates of
suicidal ideation and completed suicide than the general population, studies have not shown that
providing hormones reduces rates of suicide, and in fact those interventions may be associated
with increased rates.
                         D. An Increase in Cases of Gender Dysphoria
         220.   Gender Dysphoria has been a relatively rare condition in children and adolescents.
However there have been very significant increases in referrals for this condition noted around the
globe.
         221.   For example, in the UK, “The number of referrals to GIDS [Gender Identity
Development Service] has increased very significantly in recent years. In 2009, 97 children and
young people were referred. In 2018 that number was 2519” (Bell v Tavistock Judgment, 2020).
There is evidence that this increase may be in part due to social contagion and fueled by social
media/internet use (Littman, 2018).
         222.   The French National Academy of Medicine wrote recently: “Parents addressing
their children’s questions about transgender identity or associated distress should remain vigilant
regarding the addictive role of excessive engagement with social media, which is both harmful to
the psychological development of young people and is responsible for a very significant part of
the growing sense of gender incongruence” (SEGM, 2022).
         223.   In “a study of the Finnish gender identity service, ‘75% of adolescents [assessed]
had been or were currently undergoing child and adolescent psychiatric treatment for reasons other
than gender dysphoria’ (Kaltiala-Heino, 2015). In fact, ‘68% had their first contact with psychiatric
services due to other reasons than gender identity issues.’ The same study also showed that 26%
percent had an autistic spectrum disorder and that a disproportionate number of females (87%)
were presenting to the gender clinics compared to the past” (Laidlaw in gdworkinggroup.org,
2018).
                                               E. Desistance
         224.   Desistance is a term indicating that the child, adolescent, or adult who initially
presented with gender incongruence has come to experience a realignment of their internal sense


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of gender and their physical body. “Children with [gender dysphoria] will outgrow this condition
in 61% to 98% of cases by adulthood. There is currently no way to predict who will desist and
who will remain dysphoric” (Laidlaw et al., 2019; Ristori & Steensma, 2016).
        225.    Because there is no physical marker to diagnose gender dysphoria, and because it
is not possible to predict which child or adolescent will desist, it is not possible to know which
young person will remain transgender identified as adults. Also, because the rate of desistance is
so high, gender affirmative therapy will necessarily cause serious and irreversible harm to many
children and adolescents who would naturally outgrow the condition if not affirmed.
        226.    Dr. Shumer states “data and personal experience shows that children whose gender
dysphoria persists into adolescence are highly likely to be transgender” (Shumer decl, p. 19).
Similarly, Dr. McNamara states ““in contrast to prepubertal children, adolescents with gender
dysphoria rarely find that their dysphoria resolves without [gender affirming] treatment”
(McNamara decl, p. 22).” However, the statements of both physicians are contradicted by the
evidence from the following studies.
      227.      Puberty, which pertains to the physical development of the reproductive tract,
breasts, and associated secondary sex characteristics, can begin as early as age 8 in girls and age 9
in boys. The studies which have examined desistance involved adolescents and children aged
twelve and under. For example, table 1 in Ristori and Steensma 2016 shows multiple studies
involving minors. For the three most recent—Singh (2012), Wallien & Cohen-Kettenis (2008),
and Drummond et al. (2008)—these involved age ranges from 3 to 12years old40. The desistance
rate varied from 61 to 88%. Since the upper age was twelve this would include children in the age
range of 8-12 years old, many of whom were already adolescents going through puberty based on




40
  “This study provided information on the natural histories of 25 girls with gender identity disorder (GID).
Standardized assessment data in childhood (mean age, 8.88 years; range, 3-12 years)” (Drummond et al.,
2008). “We studied 77 children who had been referred in childhood to our clinic because of gender
dysphoria (59 boys, 18 girls; mean age 8.4 years, age range 5-12 years)” (Wallien et al., 2008).
“Standardized assessment data in childhood (mean age, 7.49 years; range, 3–12 years) and at follow-up
(mean age, 20.58 years; range, 13–39 years) were used to evaluate gender identity and sexual orientation
outcome. At follow-up, 17 participants (12.2%) were judged to have persistent gender dysphoria” (Singh,
2012).


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a knowledge of the ages of initiation of puberty and were therefore not pre-pubertal.41 Therefore
we can see that a high proportion of adolescents do in fact desist, contrary to what Drs. Shumer
and McNamara have stated.
                                   F. Mastectomy Surgery for Minors
        228.   Any serious look at long-term effects of surgical treatment would follow subjects
out at least ten years. For example, an article was published recently examining patients who had
mild calcium disorders due to a gland called the parathyroid. They compared a group of patients
who had surgical removal of the parathyroid to a control group who had not. They examined data
ten years after surgery was completed and concluded that parathyroid surgery in this group “did
not appear to reduce morbidity or mortality” in that patient group (Pretorius, 2022).
        229.   To my knowledge there exists no comparable studies of minors with gender
dysphoria comparing those who had mastectomy surgery to a control group who had not. There
are also no known studies of minors followed for 10 years or more to determine the long-term risks
and benefits of mastectomy for gender dysphoria.
        230.   Good quality studies specifically showing that mastectomy surgery is safe,
effective, and optimal for treating minors with gender dysphoria do not exist. For example, there
is a study titled “Chest Reconstruction and Chest Dysphoria in Transmasculine Minors and Young
Adults Comparisons of Nonsurgical and Postsurgical Cohorts” (Olson-Kennedy, 2018). The study
authors conclude that “[c]hest dysphoria was high among presurgical transmasculine youth, and
surgical intervention positively affected both minors and young adults.” However, there are a
number of problems with this study. First, the term “chest dysphoria” is a creation of the study
authors and is not found as a diagnosis or even referenced in the DSM-5. Second the “chest
dysphoria scale” is a measuring tool created by the authors, but which the authors state “is not yet
validated.” (Id., p. 435) Third, the mastectomies were performed on girls as young as 13 and 14
years old and who thereby lacked the maturity and capacity of good judgment for truly informed
consent for this life altering procedure. For this reason, in my professional opinion, the research
and surgeries performed were flawed and unethical.




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   To my knowledge the desistance literature does not examine Tanner stages of puberty as part of their
studies. However, one can infer based on the ages that many children had at least begun puberty (Tanner
stage 2) or were at a more advanced stage of puberty.


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       231.    There exists another poorly designed study which suffers from similar
methodological and ethical problems as the Olson-Kennedy study. A 2021 study published in
Pediatrics examined females aged 13-21 recruited from a gender clinic. Thirty young females had
mastectomy procedures and sixteen had not. The average age at surgery was 16.4 years
(Mehringer, 2021). The follow up time after surgery was only 19 months and no data is provided
or analyzed about key psychiatric information such as comorbid psychological illnesses, self-
harming behaviors, psychiatric hospitalizations, psychiatric medication use, or suicide attempts.
       232.    Information returned from the study surveys were all qualitative and included
responses such as “[My chest dysphoria] made me feel like shit, honestly. It made me suicidal. I
would have breakdowns”. Another respondent stated, “I’ve been suicidal quite a few times over
just looking at myself in the mirror and seeing [my chest]. That’s not something that I should have
been born with” (Mehringer, 2021). The omission of psychiatric data is a major flaw in the study
and also irresponsible given the obviously dangerous psychological states that some of these young
people were in.
       233.    Since such a high proportion of subjects were using testosterone (83%), some of
the responses could be attributed to adverse effects of testosterone. For example, as related earlier,
high dose testosterone can manifest in irritability and aggressiveness. One study subject responded,
“I get tingly and stuff and it kind of makes me want to punch something” (Mehringer, 2022).
       234.    The testosterone labeling also indicates nausea and depression as adverse reactions
which are described by another study subject “There’s a feeling of hopelessness, of desperation,
of—almost makes me feel physically sick” (Actavis Pharma, Inc., 2018; Mehringer, 2022).
       235.    The study appears to have been designed, at least in part, to justify insurance
companies paying for mastectomy procedure for minors with GD, even though they have provided
no long-term statistical evidence of benefit: “These findings...underscore the importance of
insurance coverage not being restricted by age” (Mehrniger, 2021). This also appears to be part of
the aim of the flawed Olson-Kennedy study, which stated that “changes in clinical practice and in
insurance plans’ requirements for youth with gender dysphoria who are seeking surgery seem
essential” (Olson-Kennedy, 2018). So these two studies, rather than being a thorough examination
of the psychological and physical risks and benefits of mastectomy surgery over the long-term
appear instead to exist, at least in part, to validate the need for insurance companies to insure the
costs of these dubious procedures for minors.


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                            G. Centers for Medicare and Medicaid Services
       236.    The Centers for Medicare and Medicaid Services (“CMS”) has found
“inconclusive” clinical evidence regarding gender reassignment surgery. Specifically, the CMS
Decision Memo for Gender Dysphoria and Gender Reassignment Surgery (CAG-00446N) (June
19, 2019) states: “The Centers for Medicare & Medicaid Services (CMS) is not issuing a National
Coverage Determination (NCD) at this time on gender reassignment surgery for Medicare
beneficiaries with gender dysphoria because the clinical evidence is inconclusive for the Medicare
population” (CMS.gov, 2016).
       237.    Dr. McNamara states that “the CMS did not reach any negative conclusion on the
benefits of essential medical treatment for gender dysphoria for children and adolescents”
(McNamara decl, p. 12). However, it does not make the converse true as Dr. McNamara seems to
imply. In other words, the CMS review does not therefore mean that there is conclusive evidence
of benefit and lack of harm for the under 65 population, including children and adolescents. On
the contrary, evidence of benefit is lacking and the risks and harms due to GAT are very high as I
have described.
                    H. Nations and States Question and Reverse Course on GAT
       238.    Dr. McNamara claims that “[i]nternational and national medical consensus
supports the treatment of gender dysphoria” (McNamara decl, p. 2). The treatment she refers to is
gender affirmative therapy as dictated by the “standards of care from WPATH and clinical practice
guidelines from the Endocrine Society” (McNamara decl, p. 2).
       239.    However numerous nations are questioning and reversing course on the
WPATH/Endocrine Society’s low quality gender affirmative therapy guidelines. For example, in
the Bell v. Tavistock Judgment in the UK, regarding puberty blockers in GAT, the court concluded
that “there is real uncertainty over the short and long-term consequences of the treatment with very
limited evidence as to its efficacy, or indeed quite what it is seeking to achieve. This means it is,
in our view, properly described as experimental treatment” (Bell v. Tavistock Judgment, 2020,
emphasis added). The case was appealed and although the medical decision making was returned
to clinicians (rather than the courts), it was noted that great pains should be taken to ensure that
the child and parents are properly informed before embarking on such treatments.
       240.    In the bulletin of the Royal College of Psychiatrists in 2021, in a reevaluation of
the evidence, Griffin and co-authors write, “As there is evidence that many psychiatric disorders


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persist despite positive affirmation and medical transition, it is puzzling why transition would
come to be seen as a key goal rather than other outcomes, such as improved quality of life and
reduced morbidity. When the phenomena related to identity disorders and the evidence base are
uncertain, it might be wiser for the profession to admit the uncertainties. Taking a supportive,
exploratory approach with gender-questioning patients should not be considered conversion
therapy” (Griffin et al., 2021).
       241.    In 2020, Finland recognized that “[r]esearch data on the treatment of dysphoria due
to gender identity conflicts in minors is limited,” and recommended prioritizing psychotherapy for
gender dysphoria and mental health comorbidities over medical gender affirmation (Council for
Choices in Healthcare in Finland, 2020). Additionally, “[s]urgical treatments are not part of the
treatment methods for dysphoria caused by gender-related conflicts in minors”.
       242.    In 2021, Sweden’s largest adolescent gender clinic announced that it would no
longer prescribe puberty blockers or cross-sex hormones to youth under 18 years outside clinical
trials (SEGM, 2021). “In December 2019, the SBU (Swedish Agency for Health Technology
Assessment and Assessment of Social Services) published an overview of the knowledge base
which showed a lack of evidence for both the long-term consequences of the treatments, and the
reasons for the large influx of patients in recent years. These treatments are potentially fraught
with extensive and irreversible adverse consequences such as cardiovascular disease, osteoporosis,
infertility, increased cancer risk, and thrombosis. This makes it challenging to assess the risk /
benefit for the individual patient, and even more challenging for the minors or their guardians to
be in a position of an informed stance regarding these treatments” (Gauffen and Norgren, 2021).
       243.    Dr. Hilary Cass “was appointed by NHS England and NHS Improvement to chair
the Independent Review of Gender Identity Services for children and young people in late 2020”
(The Cass Review website, 2022). In her interim report dated February 2022, it states that
“[e]vidence on the appropriate management of children and young people with gender
incongruence and dysphoria is inconclusive both nationally and internationally” (Cass, 2022). This
led to the shutting down of their Tavistock child gender identity clinic.
       244.    In the nation of Norway, a report from the Norwegian Healthcare Investigation
Board (Ukom) was released in March of this year. The report found “there is insufficient evidence
for the use of puberty blockers and cross sex hormone treatments in young people, especially for
teenagers who are increasingly seeking health services and being referred to specialist healthcare.


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Ukom defines such treatments as utprøvende behandling, or ‘treatments under trial,’ said Moen”
(Block, “Norway”, 2023).
        245.     In the State of Florida, effective March 6, 2023, the Florida Board of Medicine
amended its “Standards of Practice for Medical Doctors” to include the following:
        “64B8-9.019 Standards of Practice for the Treatment of Gender Dysphoria in Minors.
        (1) The following therapies and procedures performed for the treatment of gender
        dysphoria in minors are prohibited.
        (a) Sex reassignment surgeries, or any other surgical procedures, that alter primary or
        secondary sexual characteristics.
        (b) Puberty blocking, hormone, and hormone antagonist therapies.”
        (Florida Department of Health, Board of Medicine, 2023).
                                            VI. Conclusion
        246.     The gender affirmative therapy model suffers from serious deficiencies in logic and
lacks scientific foundation. The deep error hidden in this model is that one cannot in fact change
sex. One cannot acquire the deep characteristics of biological sex in order to gain the complete
sexual and reproductive functions of the opposite sex. This is not technologically possible.
        247.     Children and adolescents are of such immature minds that they are likely to believe
that it is possible. In fact they may come to believe that their inherent, biologically necessary
puberty is “terrifying” or needs to be stopped. Social transition serves to convince the child or
adolescent that they can be the opposite sex. Puberty blockers sustain this state of mind by retaining
a childlike state with respect to the genitalia and body habitus. High dose opposite sex hormones
then cause medical conditions such as hirsutism and irreversible damage to the vocal cords in
females and gynecomastia in males. These conditions serve to convince the young person that they
are going through puberty of the opposite sex when in fact they are not developing sexually and
are likely infertile.
        248.     There are known risks from GAT for both adults and minors, some of which I have
described above, including cardiovascular disease, cancer, deficiencies in ultimate bone density,
harms to sexual function, infertility, and for some permanent sterility. The child or adolescent
cannot consent (or assent) to these harms when they are not mature enough to fully comprehend
what they mean. Long-term studies regarding the treatment effects specifically for minors with




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                      Endocrinology, Diabetes, and Metabolism
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                                    Rocklin, CA 95677
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                                     EMPLOYMENT

2006-Present   Michael K Laidlaw, MD Inc. Private Practice – Endocrinology, Diabetes, and
               Metabolism. Rocklin, CA

                                      EDUCATION


2004-2006      Endocrinology and Metabolism Fellowship - Los Angeles County/University of
               Southern California Keck School of Medicine
2001-2004      Internal Medicine Residency - Los Angeles County/University of Southern
               California Keck School of Medicine
1997-2001      University of Southern California Keck School of Medicine
               Doctor of Medicine Degree May 2001
1990-1997      San Jose State University
                Bachelor of Science Degree in Biology with a concentration in Molecular
               Biology, Cum Laude

                                       LICENSURE


California Medical License – Physician and Surgeon: # A81060: Nov 6, 2002. Exp 5/31/2024.

                            PROFESSIONAL AFFILIATIONS

Endocrine Society 2006-2023
American Board of Internal Medicine - Endocrinology, Diabetes, and Metabolism – 2006
American Board of Internal Medicine - Internal Medicine - 2005
National Board of Physicians and Surgeons - Endocrinology, Diabetes, & Metabolism 2018-2024
National Board of Physicians and Surgeons - Internal Medicine 2018-2024


                             HONORS AND RECOGNITION

2010           Endocrine Society Harold Vigersky Practicing Physician Travel Award
2004-2005      Vice President - Joint Council of Interns and Residents
2002-2004      Council Member – Joint Council of Interns and Residents
1996, 1997     Dean’s Scholar, San Jose State University
1995           Golden Key National Honor Society
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                        RESEARCH AND PUBLICATIONS



2021       Publication – Michael K Laidlaw, Andre Van Mol, Quentin Van Meter, Jeffrey E
           Hansen. Letter to the Editor from M Laidlaw et al.: “Erythrocytosis in a Large
           Cohort of Trans Men Using Testosterone: A Long-Term Follow-Up Study on
           Prevalence, Determinants, and Exposure Years.” The Journal of Clinical
           Endocrinology & Metabolism, Volume 106, Issue 12, December 2021, Pages
           e5275–e5276, https://doi.org/10.1210/clinem/dgab514

2020       Publication – Van Mol A, Laidlaw MK, Grossman M, McHugh P. "Correction:
           Transgender Surgery Provides No Mental Health Benefit." Public Discourse, 13
           Sep 2020. https://www.thepublicdiscourse.com/2020/09/71296/

2020       Publication – VanMol A, Laidlaw MK, Grossman M, McHugh P..
           "Gender-affirmation surgery conclusion lacks evidence (letter)". Am J Psychiatry
           2020; 177:765–766.

2020       Publication – Laidlaw MK. "The Pediatric Endocrine Society’s Statement on
           Puberty Blockers Isn’t Just Deceptive. It’s Dangerous." Public Discourse. 13 Jan
           2020. https://www.thepublicdiscourse.com/2020/01/59422/

2019       Speech to the U.K. House of Lords – Laidlaw MK. “Medical Harms Associated
           with the Hormonal and Surgical Therapy of Child and Adolescent Gender
           Dysphoria”. Parliament, London, U.K. 15 May 2019.

2019       Publication – Laidlaw MK, Cretella M, Donovan K. "The Right to Best Care for
           Children Does Not Include the Right to Medical Transition". The American
           Journal of Bioethics. Volume 19. Published online 20 Feb 2019. 75-77.
           https://doi.org/10.1080/15265161.2018.1557288

2018       Publication – Laidlaw MK, Van Meter QL, Hruz PW, Van Mol A, Malone WJ.
           Letter to the Editor: “Endocrine Treatment of
           Gender-Dysphoric/Gender-Incongruent Persons: An Endocrine Society Clinical
           Practice Guideline.” The Journal of Clinical Endocrinology & Metabolism,
           Volume 104, Issue 3, 1 March 2019, Pages 686–687,
           https://doi.org/10.1210/jc.2018-01925 (first published on-line 11/2018)

2018       Publication – Laidlaw MK. "The Gender Identity Phantom".
           gdworkinggroup.org, 24 Oct 2018.
           http://gdworkinggroup.org/2018/10/24/the-gender-identity-phantom/

2018       Publication – Laidlaw MK. “Gender Dysphoria and Children: An
           Endocrinologist’s Evaluation of ‘I am Jazz'”. Public Discourse, 5 Apr 2018.
           https://www.thepublicdiscourse.com/2018/04/21220/

2013       Abstract – Poster presentation Jun 2013. Endocrine Society Annual Meeting. A
           12 Step Program for the Treatment of Type 2 Diabetes and Obesity.
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2011        Abstract – Poster presentation Nov 2011. Journal of Diabetes Science and
            Technology. A Video Game Teaching Tool for the Prevention of Type 2 Diabetes
            and Obesity in Children and Young Adults.

2011        Abstract – Journal of Diabetes Science and Technology. A Web-Based Clinical
            Software Tool to Assist in Meeting Diabetes Guidelines and Documenting Patient
            Encounters.

2008        Abstract - Accepted to Endocrine Society Annual Meeting 2008. Hypercalcemia
            with an elevated 1,25 dihydroxy-Vitamin D level and low PTH due to
            granulomatous disease.

2005-2006   Clinical Research - University of Southern California – Utility of Thyroid
            Ultrasound in the Detection of Thyroid Cancer. Study involving the use of color
            flow/power doppler ultrasound and ultrasound guided biopsy to detect the
            recurrence of thyroid cancer in patients with total thyroidectomies.

2005        Certification - Certification in Diagnostic Thyroid Ultrasound and Biopsy –
            AACE 2005

2003        Certification - Understanding the Fundamentals: Responsibilities and
            Requirements for the Protection of Human Subjects in Research. University of
            Southern California. 29 Sep 2003 - 29 Sep 2006

2002-2005   Clinical Research - University of Southern California - Determining the Role of
            Magnesium in Osteoporosis. Study involved collecting and analyzing patient data
            related to patient characteristics, laboratory results, bone mineral density exams,
            nutrition analysis, and genetic analysis in order to determine a link between
            magnesium deficiency and osteoporosis.

1996        Research Assistant - San Jose State University - Role of the suprachiasmatic
            nucleus pacemaker in antelope ground squirrels.

1995-1996   Research Assistant - San Jose State University/NASA. Acoustic tolerance test
            and paste diet study for space shuttle rats.


                 EXPERT WITNESS WORK AND AMICUS BRIEFS


2022-2023   Expert Witness – Laidlaw MK. United States District Court for the Northern
            District of Florida Tallahassee Division. AUGUST DEKKER, et al., Plaintiffs, v.
            SIMONE MARSTILLER, et al., Defendants. Case No. 4:22-cv-00325-RHMAF.
            Report October 3, 2022. Testified in court October 12, 2022. Expert Report
            February 17, 2023. Rebuttal March 10, 2023.

2022        Expert Witness Report – Laidlaw MK. C. P., by and through his parents, Patricia
            Pritchard and Nolle Pritchard; and PATRICIA PRITCHARD, Plaintiff, vs. BLUE
            CROSS BLUE SHIELD OF ILLINOIS, Defendants. Case No.
            3:20-cv-06145-RJB
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2022       Expert Witness Report – Laidlaw MK. DISTRICT COURT OF TRAVIS
           COUNTY, TEXAS 459th JUDICIAL DISTRICT. PFLAG, INC., ET AL.,
           Plaintiffs, v. GREG ABBOTT, ET AL., Defendants. NO. D-1-GN-22-002569. 3
           July 2022.

2022       Expert Witness Report #2 – Laidlaw MK. United States District Court for the
           District of Arizona. DH and John Doe, Plaintiffs, vs. Jami Snyder, Director of the
           Arizona Health Care Cost Containment System, in her official capacity,
           Defendant. Case No. 4:20-cv-00335-SHR. 24 Jun 2022. (Sealed under Protective
           Order).

2022       Expert Witness Report – Laidlaw MK. United States District Court for the
           Middle District of Alabama Northern Division. REV. PAUL A.
           EKNES-TUCKER, et al., Plaintiffs, v. KAY IVEY, in her official capacity as
           Governor of Alabama, et al., Defendants. Civil Action No. 2:22-cv-184-LCB. 2
           May 2022.

2021       Brief of Amicus Curiae – Bursch, John J., McCaleb, Gary S., Van Meter, Quentin
           L., Laidlaw, Michael K., Van Mol, Andre, Hansen, Jeffrey E. Brief of Amicus
           Curiae. United States Court of Appeals for the Eight Circuit. DYLAN BRANDT,
           et al., Plaintiffs-Appellees v. LESLIE RUTLEDGE, in her official capacity as the
           Arkansas Attorney General, et. al. Defendants-Appellants. 23 Nov 2021.

2021       Expert Witness – JULIANA PAOLI v. JOSEPH HUDSON et al. heard in THE
           SUPERIOR COURT OF THE STATE OF CALIFORNIA, COUNTY OF
           TULARE. CASE NO. 279126. 2021.

2021       Brief of Amicus Curiae – Bursch, John J., McCaleb, Gary S., Grossman, Miriam,
           Van Meter, Quentin L., Laidlaw, Michael K., Van Mol, Andre, Hansen, Jeffrey E.
           Brief of Amicus Curiae. United States Court of Appeals for the Eleventh Circuit.
           DREW ADAMS, Plaintiffs-Appellee v. SCHOOL BOARD OF ST. JOHNS
           COUNTY, FLORIDA, et. al. Defendants-Appellant. 26 Oct 2021.

2020       Expert Witness Affidavit 1 & 2 – Laidlaw MK. Supreme Court of British
           Columbia. File No. S2011599, Vancouver Registry. Between A.M. Plaintiff and
           Dr. F and Daniel McKee Defendants. 11/23/20 & 11/25/20.

2020       Brief of Amicus Curiae – Wenger, Randal L., McCaleb, Gary S., Grossman,
           Miriam, Laidlaw, Michael K., McCaleb, Gary S., Van Meter, Quentin L., Van
           Mol, Andre. Brief of Amicus Curiae. United States Court of Appeals for the
           Ninth Circuit. LINDSAY HECOX and JANE DOE, with her next friends Jean
           Doe and John Doe, Plaintiffs-Appellees v. BRADLEY LITTLE, in his official
           capacity as Governor of the State of Idaho, et. al. Defendant-Appellant. 19 Nov
           2020

2020       Expert Witness Report – Laidlaw MK. United States District Court for the
           District of Arizona. DH and John Doe, Plaintiffs, vs. Jami Snyder, Director of the
           Arizona Health Care Cost Containment System, in her official capacity,
           Defendant. Case No. 4:20-cv-00335-SHR. 27 Sep 2020.
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                EXHIBIT 7
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2019         Expert Witness Affidavit – Laidlaw MK. Court of Appeal File No. CA45940,
             Vancouver Registry. B.C. Supreme Court File No. E190334, between A.B.
             Respondent/Claimant, and C.D. Appellant/Respondent, and E.F.
             Respondent/Respondent. 24 Jun 2019.

2018         Brief of Amicus Curiae – Alliance Defending Freedom, Campbell, James A.,
             Grossman, Miriam, Laidlaw, Michael K., McCaleb, Gary S., Van Meter, Quentin
             L., Van Mol, Andre. Brief of Amicus Curiae. United States Court of Appeals for
             the Eleventh Circuit. Drew Adams, Plaintiff-Appellee, v. School Board of St.
             Johns County, Florida, Defendant-Appellant. 12/27/2018.


                                      PERSONAL

Languages: Conversational Spanish, French
Tutor: Biochemistry, computer science, High School mentor
Computers: Ruby, Rails, Javascript, C++, C, Java, and HTML programming
